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   8                          UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10

  11   MATTHEW JONES; THOMAS FURRH;                       Case No.: 3:19-cv-01226-L-AHG
       KYLE YAMAMOTO; PWGG, L.P. (d.b.a.
  12   POWAY WEAPONS AND GEAR and                         Hon. M. James Lorenz and Magistrate
  13   PWG RANGE); NORTH COUNTY                           Judge Allison H. Goddard
       SHOOTING CENTER, INC.; BEEBE
  14   FAMILY ARMS AND MUNITIONS LLC                      DECLARATION OF DAVID BOGAN
  15   (d.b.a. BFAM and BEEBE FAMILY                      IN SUPPORT OF PLAINTIFFS’
       ARMS AND MUNITIONS); FIREARMS                      MOTION FOR PRELIMINARY
  16   POLICY COALITION, INC.; FIREARMS                   INJUNCTION
  17   POLICY FOUNDATION; CALIFORNIA                      (Part 2 of 2)
       GUN RIGHTS FOUNDATION (formerly,
  18   THE CALGUNS FOUNDATION); and                       Complaint Filed: July 1, 2019
  19   SECOND AMENDMENT                                   Second Amended Complaint Filed:
       FOUNDATION,                                        November 8, 2019
  20
                                            Plaintiffs,
  21
       v.                                                 Date: Monday, December 16, 2019
  22                                                      Time: 10:30 a.m.
  23
       XAVIER BECERRA, in his official                    Courtroom: Dept. 5B (5th Floor)
       capacity as Attorney General of the
  24   State of California, et al.,                  No oral argument should be heard
  25                                     Defendants. unless ordered by the Court
  26

  27

  28
                       DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-19 Filed 11/12/19 PageID.4441 Page 2 of 99




            EXHIBIT "2"
                             (Part 2 of 2)




                                  Exhibit 2
                                    0005
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                                           Wildlife Conservation                                        Chapter Nine 1Page 81

                             l
          r                  I
• Define "wildlife conservation" and explain how it differs    • Explain why the correct identification of wildlife is
  from preservation.                                             crucial for hunring.
• List the five essential elemenrs for wildlife habitat.       • List the five groups commonly used to divide wildlife.
•   Define "carrying capacity."                                • Give one example of a large mammal and some of irs
•   List the factors that limit wildlife populations.            distinguishing fearures.
•   Explain the role of hunting in wildlife conservation.      • Tell where to find more information on identifying
                                                                 characteristics, habitat, and range of common
•   Give five examples of wildlife management practices, and
    explain how each helps conserve wildlife populations.        wildlife species.


Wildlife Conservation
• The concept of wildlife conservation has been around since ancient times.          conservation
  Restrictions on caking game are mentioned in the Bible, and the first official         Wise use of natural resources, without
                                                                                         wasting them
  hunting season may have been established in the 13th century by Kublai Khan.
                                                                                      preservation
                                                                                         Saving natural resources, but with no
                                                                                         consumptive use of them




• Today, wildlife conservation has evolved into a science, but irs goal remains
  essentially the same: to ensure the wise use and management of renewable
  resources. Given the right circumstances, the living organisms that we call
  renewable resources can replenish themselves indefinitely.
• Preservation is another means of protecting or saving a resource, such as by
  outlawing hunting of endangered species. Both preservation and conservation
  are necessary to sustain resources for future generations.




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                                                                        Exhibit 2
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wildlife management                                    lessons tn Wildlife Management
    Science and ptaellce of malntainiog wildlife
    pojltllalions and !heM' habitats                   •   Initially, wildlife management in rhe Unit~ Stares was skewed toward protection.
habitat                                                    In the early 1900s, for example, wildlife managers acrempred ro preserve a
   Complete enV11oomental req\Jirements of an              mule deer herd in the remote Kaibab Plateau of Ariwna. Hunring was banned,
   animal lor SIJVival: food, water, cover, space,         and predators were desrroyed. The result 'vas severe overpopulation, habitat
   and anangement                                          destruction, and mass srarvation.
                                                       • The Kaibab Plateau \YaS opened to bunting in 1929, which brought the
                                                         population into balance with the habitat. Today, a large, healthy herd of mule
                                                         deer inhabits the area.
                                                       • Around the same period, a similar evenr rook place in Pennsylvania. Deer
                                                         had been brought into the state after the native population was thought to be
                                                         extinct. With most of the predarors eliminated and licrle hunting allowed, the
                                                   ]     herd grew out of control. As rbe food supply dwindled, thousands of white-
                                                         tailed deer starVed ro death.
NaturaDy Rare
       Past Exploitation                               • From these hard lessons, wildlife managers learned that there is more to
              Pesticides                                 conservation than just protecting wildlife. They discovered that nature
                 Unknown                                 overproduces its game resources and that good wildlife management yields a
                              Kialng                     surplus that can be harvested by hunters.
                                                       The North American Model of Wildlife Conservation
                                                       In the first two decades of the 20th century, sportsmen from the United States
                                                       and Canada developed a set of guiding principles for managing wildlife resources.
                                                       Called the North American Model of Wildlife Conservation, these seven
                                                       principles provide the foundation for the success of fish and wildlife conservation
                                                       in North America.
                                                       • Wildlife is public property. The government holds wildlife in trust for rhe
                                                           benefit of all people.
                                                       • Wildlife cannot be slaughtered for commercial use. This policy elimina£es
                                                           mfficking in dead game animals.
                                                       • Wtldlife is allocared by law. Every citittn in good sranding-rega.rdlcss of
                                                           wealth, social standing, or land ownership--is allowed to participate in the:
   Controled Pests                                         harvest of fish and wildlife within guidelines set by lawmakers.
Of the possible causes for a species                   • Wildlife sball be taken by legal and ethical means, in the spirir of "fair chase,"
becoming endangered or threatened,
legal hunting equals 0%.                                   and with good cause. Animals can be killed only for legitimate purposes-for
                                                           food and fur, in sdf-defense, or for prorection of property.
                                                       • Wildlife is an international resource. As such, hunting and fishing shall be
                                                           managed cooperatively across state and province bouodaries.
                                                       • Wildlife management, use, and conservation shall be: based on sound scientific
                                                           knowledge and principles.
  ~eh'Te.hfber.••                                      • Hun ting, fishing. and trapping shall be democratic. This gives all people-rich
  No North American animal has become                      and poor alike-the opportunity ro participate.
  extinct because or sport hunting.




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Habitat Management                                                                    ('
• The habitat is where a species fulfills irs basic life needs: nourishment,
                                                                                      Habitats must be In balance In order to
  procreation, and rest. If not managed properly, urban development can result in     support wildlife. Remove a certain population
  habitat loss, which presenrs the greatest threat to wildlife. Habitat management,   of plants or animals from a community, and
  rhe most essential aspect of wildlife management, safeguards rhe essential          the community may not SOIVtve. This typically
                                                                                      happens when urban development pushes into
  elements to meet these needs.
                                                                                      wildlife areas.
  • Food and water are necessary to all wildlife. Competition
    for these elements among species makes cover, space, and
    arrangement top priorities.
  • Cover protects animals from predators and the weather while
    they feed, breed, roost, nest, and travel. Cover ranges from
    thick weeds and brush to a few rocks piled together.
  • Space is necessary for adequate food among wildlife, territorial
    space for mating and nesting, and freedom from stress·
    related diseases.
  • The ideal arrangement places food, water, cover, and
    space in a small area so that animals minimize their energy
    use while fulfilling their basic needs for nourishment,
    procreation, and rest.
•   Edge effect refers to the consequence of placing rwo conrcasting
    ecosystems adjacent to one another. Most animals are located where food and
    cover meet, particularly neat water. An example would be a river bottom, which
    offers many animals all their habitat needs along one corridor.




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                                                     • The resources in any given habitat can support only a certain quando/ of
                                                         wildlife. As seasons change, food, water, or cover may be in short supply.
                                                         tarrying capacity is me number of animals me habitat can support all year
                                                         long. The carrying capacio/ of a certain tract of land can vary from year tO
                                                         year. It can be changed by nature or humans.
                                                   • Factors that limit the potential production of wildlife include:
                                                     • Disease/parasi res
                                                     • Starvation
                                                     • Predators
                                                     • Pollution
                                                     • AccidentS
                                                     • Old age
                                                     • Hunting
carrying capacity                                  • If me condidons are balanced, game animals will produce a surplus, which can
    The number of animals the habitat can            be harvested on an annual, sustainable basis.
    support throughout the year without damage
    to the animals or to the habltat                   Max.
                                                                                                Surplus decreased by




                                                   The Hunter's Role in Wildlife Conservation
                                                   • Because wildlife is a renewable resource with a surplus, humers help control
                                                     wildlife populations at a healmy balance for the habitat. Regulated hunting has
                                                     never caused a wildlife population ro become threatened or endangered.
Hunters spend more time, money, and effort         • Hunting is an effective wildlife management tool. Hunters play an important
on wildlife conservation than any other group        role by providing informadon from the field that wildlife managers need.
in society. In addition to participating In the
harvest of surplus animals, hunters help sustain   • Funding from hunting licenses has helped many game and non-game species
game populations by:                                 recover from dwindling populadons.
• Filling out questionnaires
• Participating In surveys
• stopping at hunter check stations
• Providing samples from harvested animals
• Helping fund wildlife management
   through license fees


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                                                                                  Exhibit 2
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                                                                                          [~
Wildlife Management and Conservation Principles
• The wildlife: manager's job is ro maintain the number of animals in a habitat
  ar or bdow the habitat's carrying CJpaciry so that no damage is done w the              • Brush pile creation
  animals or ro their habitat.                                                            • Controlled burning
• In a sense, a wildlife manager's rask is similar ro a rancher's. jusL as a rancher      • Dikillll
  limirs rhe number of anim:tls in 3 CJtde herd ro a level thar the habitat CJn           • Ditching
  rolerare, wildlife managers rry ro keep the number of animals in balance with           • Food plots and planting
  their habitat. In addition to looking at the total number of each species in a          • Mechanical brush IX grass control
  habitat, wildlife managers also monitor the breeding srock-the correct mix of           • Nuisance plant IX animal control
  adult and young animals needed to sustain 3 population.                                 • Timber cutting
• To manage a habitat, wildlife managers must consider historical trends, current         • Water ho4dlngs
  habitat conditions, breeding population levels, long-term projections, and
  breeding success. With rhat knowledge, wildlife managers have a variety of
  practices at their disposal ro keep habitats in balance.
Wildlife Management Practices
• Monitoring Wildlife Populations: Wildlife managers continuously monitor
  the birth rate and death rate of various species and the condition of th-eir habitat.
  This provides the data needed to set hunting regulations and determine whether
  other wildlife management practices arc needed ro conserve wildlife species.
• Habitat Improvem ent: As succession occurs, the change in habitar affects the
  rype and number of wildlife the habitat can supporr. Wildlife managers may cut
  down or burn forested areas to promote new growth and slow down the process
  of succession. T bis practice enables them to increase the production of cerrain        Suppose each adult pair of waterfowl produces
  wildlife species.                                                                       slx young each year, and none of the factors
                                                                                          that fimit wildlife production are active. At the
• Hunting Regulations: Hunting n:gulations protect habitat and preserve animal            end ollhe fifth year, the initial pair wiD llave
  populations. ~ulacions inc.lude serting daily and seasonal rime limits, bag             gfOW!l to more than 2,000 waterfowl.
  limits, and legal methods for raking wildlik.
• Hunting: Hunting is an elfeccive wildlife management rool. Hunting practices            birthrate
  help managers keep animal populations in balance with their habitats.                       The ratio of nombef of young born to
• Predator Control: In rare instllnces, predators musr be reduced to enable some              females of a $llOCies to total population of
                                                                                              that Sl)eCies over one year
  wildlife populations to establish stable populations, particularly threatened or
  endangered species.                                                                     death rate
                                                                                              The ratio of number ol deaths In a species
• Artificial Stocking: Restocking of game animals has been successful in many                 to tolal population of lhat species spaoolng
  parts of the nation. An example of restocking is crapping animals in areas where            one year
  they are abundaot and releasing them in areas of suitable habitat where they            succession
  are nor abundant.                                                                           NabJral progression of vegetation and
                                                                                              wildlile populations In an area; for example,
• Controlling or Preventing Disease and Its Sp read: Disease can have a                       as trees grow and fOilll a canopy, shrubs
  devastating effect on wildlife. Avian cholera, for example, poses a serious clm:ar,         and grasses win disappear along wit/1 the
  especially to ducks and geese on crowded wintering grounds. Once avian                      wildlife that use tham as cover
  cholera occurs, managers must work ro prevent its spread by gathering and               predator
   burning waterfowl Clr<::ISSC.~ daily.                                                       Animal that kills other animals fiX food
• Management Funcb/Programs: ln addition to Pittman-Robcrrson funds,
   many states have initiated programs thar help finance conservation efforts.




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                                                      Wildlife Identification
                                                      •     Developing wildlife idenrification           •   Many resources are available for
• Mammals are warm -blooded animals with                    skills is a basic requirement                    learning about wildlife. Good
  hair. Young are nourished with milk from the              for hunters. Knowing rhe key                     sources are books, television shows
    mother.                                                 characreristics of animals will hdp              featuring hunting and nature
• Mammals can be carnivorous (meat-eating),                 you distinguish between similar                  topics, and \vebsices, such as that
  herbivorous (plant-eating), Of omnivorous
  (meat- and plant-eating).                                 species and between rhe male and                 of the U.S. Fish & Wiltllife Service
• Mammals seek to regulate their temperature.               female of rhe same species. Mistakes             (www.fws.gov).
  Mammals in cold climates must keep warm,                  in identification can lead to illegal        • It is common to categorize wild
  and mammals in hot climates must keep cool.               harvest of game or non-game                    animals into groups thar are similar
• Small mammals live shorter lives than large               animals. To identify game properly,
  mammals, In general.
                                                                                                           in some way. For example:
                                                            you must learn ro recognize key                • Large mam mals
• Mammals vary in social behavl0f-$0me
  species live in groups, and other species
                                                            characrerisrics of the animal
                                                                                                           • Small mammals
  are solitary except when mating or raising                you're hunting.
  offspring.                                                                                               • Upland birds
                                                      •     Identifying animals accurately is a            • Waterfowl and wedand birds
                                                            skill that improves with experience.
                                                            lr can be difficult, especially when           • Birds of prey
                                                            you must observe quickly or when             • Within each of rhe groups,
                                                            the differences between animals are            species may be "threatened" or
                                                            subcle. Sometimes the difference               "endangered." Some species are
                                                            between animals in the same                    protected from hunring because
                                                            species is only the size of rheir ears         rheir numbers are small, and rhey
                                                            or distinctive coloring. Scat and              produce no surplus to harvest.
                                                            tracks provide additional clues for            "Threatened" and "endangered"
                                                            identifying species.                           species are protected by law.

                                                                  Large Mammals
 Bighorn Sheep                                        Black Bear                                          Black-Tailed Deer




                                                      Color varies from black or cinnamon to blond
                                                                                                                    OToml~-..,~
                                                      in west and black in east; muzzle usually brown:
Dark brown to gray coloring; white rump patch         may have a small white patch on chest. Male        Smaller than mule deer with a less ectensive
with short darker tail. Two heavy, ta~ring.           much larger than female.                           range. Can be distinguished from mule deer by
curled brown homs on male; smaller and less                                                              its blackish or brown coloring on top of tail.
curled on female.                                                                 Habitat and
                                                                                  Habits:                                                Habitat and
                           Habitnt an d                                                                                                  Habits: Lives
                                                                                  Lives primarily in
                           Habits: Uv~ in                                                                                                in mixedo~n
                            rocky, mountainous
                                                                                  forest and swamps
                                                                                  in east, in forest and                                 ro wooded
                            terr:lln, preferring                                  wooded mountains                                       terr:lln along the
                            bluffs or steep slopes.                               in west. Omnivorous.                                   Pacific Coast.
                            Herbivorous. lives                                    lives up to 30 years.                                  Herbivorous.
                            for 15 years. Male is     ~-------'N~nal,usu~y                               '---~-----~ Lives up to 16
                            polyg:unous; rur runs     solitary, ecc.ept mother with cubs. Mates Jun.- years. Male is polygamous; rut runs Oa.-Occ.
                            Nov.-Dec.; males          Jul. Typically twO to three cubs, born in winter. One to twO spoaed F.iwns typical.
                            engage in bmdes,
'---::-:-----c-......,.---' butting heads. One
small brown lamb typical.
(                    Osummer range                        O winter range             0 all-year range




                                                                                          Exhibit 2
                                                                                            0093
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                                                             large Mammals
                                                                                                      Moose




            CW~n!ol   _ _, _                                OTOIIIJ......_osod_~

                                                  Largest wild dog. Color varies from white           Dark brown coloring; legs arc: grayish. Large
Dark brown tO tan coloring; yellowish rump        (Arctic) to black, bur usually a grizzled gray.
patch and rail. Large, spreading antlers on                                                           overhanging snout; dewlap on throat. Anders
                                                  Tails often black-tipped. Unlike coyote, holds      on male are massive, palmate, and Rat.
male.
~~......., . . - - - - - - - - . Habitat and rail srraiglu out when running.                                                             Habitat and
                                                                             Habitat and                                                 Habits: Lives
                                   Habits• Lives                             Habits:
                                   in moun-                                                                                              in forests
                                                                             Lives in north                                              with lakes
                                   minous terrain
                                                                             wilderness forests                                          and swamps.
                                   in summer                                 and tundra, and all
                                   and may                                                                                               Herbivorous.
                                                                             habimts in other                                            Lives up to
                                   move co lower
                                                                             ranges except desert     L - - - - - - - - - - ' 20 years.
                                   elevations,                               and high mouocains.
                                   wooded slopes L _ _ _ _ _ _...J Carnivorous. Mainly                Male is polygamous; rut runs Sept.-Oct.
                                   in winter.                                                         Usually one calf; light reddish-brown with dark
                                                  noaurnal, bur can be active anytime. One 10         Stripe down back.
1.___:~>.L...:....~---:--:-:-:--*' Herbivorous.
                                                  eleven pups born Apr.-Jun.
 Lives up co 15 years. Male is polygamous; rue
 runs &pt.-Nov. Usually one calf. spotred until
 3 monms of age.

                                                              large Mammals
Mountain Goat                                                                                         Mule Deer




                                                           Otom.Llllli:ll,usecl...,per.-
                                                                                                              01001.LW.:O._ ..... , . _
                                                  large ran car with long dark-tipped rail.
          OTOmJ. Wo:O,_ ....                                                                          Reddish coloring in summer and blue-gray in
                                                                                  Habitat and         winter. Rump parch is cream-colored with black
Long white fur that rums yellowish in winter,                                     Habits:             tip; tail is cream-colored. Eats arc larger than the
black hooves a.nd horns that curve slightly                                       Lives mainly        white-tailed deer. Anders branch equally.
~-------, backward, and a                                                         in rugged
                         distinctive beard.                                                                                    Habitat and Habits:
                                                                                  mountains
                                                                                  and sometimes
                                                                                                                               Lives in forests, desert
                         Habitat and Habitso
                                                                                                                               shrubs, thickets of
                         Usually found above                                      in forests and
                                                                                                                               shrubs or rrc:es, grass-
                         timberline on rocky                                      swamplands
                                                                                                                               lands, plains, foothiUs,
                         prc:cipices or steep                                     with dens in
                                                                                                                               and river bottoms.
                         slopes; moves closer                                     caves, rock
                                                                                                                               Herbivorous. Lives up tO
                         tO the timberline        "------:-~-~ ~ces,and                                                         16 years. Male is polyga-
"---....:....----' during winter monms.           other concealed locations. Carnivorous; makes
                                                                                                                               mous; rut runs Oct.-
Herbivorous. Lives up to 12 years. Movement       a food "cache" out of uneaten prey. Mainly
                                                  nocrumal. Typically twO tO four spotted cubs
                                                                                                                               Dec. One 10 cwo spotted
limited ro three to six miles. Male is polyga-                                                                                 fawns typical.
mous; rut runs Nov.-Dec. Typically one to twO     born throughout the year.
kids; brown hai11 along back.

                      0   summer range             O winter range                      0 all-year range           0 not present
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                                                                                           Exhibit 2
                                                                                             0094
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                                                                    Large Mammals
Pronghorn                                               White-Tailed Deer




                                                                                                                    Larger than the GOilared pec:calY and resem-
                                                                                                                    bling the Eurasian wild boar or domestic pig.
                                                               """"""'T-Pwl<s&-                                     Can be mistaken for the black bear. Coarse,
                                                 Reddish-brown to blue-gray or tan GOiorin~
                                                 underside of tail is white, producing a "flag                      bristled hair. Usually black but can be gray,
Reddish to ran GOioring. Large white rump        when raised off the rump. Antlers on males                                                dark brown, blond, white,
parch with short white rail; rump hair stands up GOnsist mainly of a main beam with tines                                                  or red; some are spotted
when alerted or fleeing. Two brood white bands growing from it.                                                                            orstripcd.Longsnouts
across neck. Male has large black jaw patch and                                                                                            with (our sharp tusks;
                                                                                             Habitat and                                    upper tusks point up. Tail
larger, slightly curved horns with single prong
                                                                                             Halbits: Lives in                              longer and straighter than
growing forward.
                                                                                             forests, swamps,                              domestic pig.
                      Habitat and Habits:                                                    open brushy areas,
                      Lives in open prairies,                                                foothills, plains,     Habitat   and   Habits:
                      plains, and bru.1hlands.                                               and river bottoms.     Lives primarily in swamps, river bottoms,
                       Herbivorous. Lives for 14                                             He.rbivorous.          brushlands, woodlands, and forests. Damages
                      years. Male is polygamous; ~M,..ovc_m_e_n_t-:-:lim~it-ed-:-::-fro-m--'one to rwo miles. Lives property. Omnivorous; C:lts crops and the food
                      rut runs Aug.-Nov. 1\vo    up to 16 years. Male is polygamous; rut runs                       oflh-estock and wildlife. Lives up to 25 years.
                      fawns typical.             Oct.-Dec. One tO rwo spotted fawns typical.                        Mainly nocturnal but can be active any time.
                                                                                                                    Four to twelve piglm in a liner; one or rwo liners
                                                                                                                    per year.




American Badger                                          American Beaver                                         Black-Tailed Jackrabbit




                 """""'"'   __,_
Medium-sized with short black legs and
yellowish-gray hair. Medium white stripe over
                                                        Large-sized. brown rodent; naked rail, scaly and
head to nose, white checks, and black patch in                                                            Medium-sized with grayish-brown fur with
r-.---.,---.--.--..-""' front of each ear.              paddle-shaped. l...arge chestnut-colored front
                                                        , - - - - - - - - - - - - , teeth and webbed large black-tipped ears and black streak on top
                             Long fro. nt claws                                         short feet for    of short tail.
                             for digging.
                                                                                        swimming.                                      tlabitat 'llld
                             tl.lbit.at .md                                                                                            l hbits:
                                                                                        H.tbir:u and
                             H.1bi!'>: Lives                                                                                           Lives in prairies,
                                                                                        Habits:
                             in open grass-                                                                                            shrub lands,
                                                                                        Lives in streams,
                             lands, deserts,                                                                                           and semi-arid
                                                                                        rivers, ponds, or
                             and thickets of                                                                                           desertS.
                                                                                        lakes. ConstruCtS
                             shrubs and trees.                                                                                         Herbivorous.
                                                                                        houses of sticks,
'--,-----'----.J Carnivorous; feeds                                                                                                    Two to four
                                                                                        I~, and mud or
mainly on small rodenrs. Lives 12 )'C'4l'S. Breeds      ' - - - - - - - - - - ' burrows in banks;                                      young per ~ner.
during jul.-Aug.; rwo to five young; one litter
                                                        builds dams serving as habitat. Herbivorous.
per year.                                               Lives up to II years. Two ro four kits born
                                                        Apr.-Jul.

                     Osummer range                       Owinter range                     0 all-year range                   0   not present

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                                                                                                Exhibit 2
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Bobcat                                              Common Gray Fox




                                                                                                              Obit, _ _ . . . , , . _

                                                                                                     SmaU-sized with brown to grayish-brown
                    O....OO,OIU-
                                                                                                     fur and grayish underside; black, scaly tail;
Medium·siud with reddish·sponed fur (Jtrayer                    O....OO,allerasParlc$&-
                                                                                                     partially-,vebbcd hind feet.
in winter) and black on top and at tip o(very       Medium-sized wirh salt-and·pcppet fur; face is
short tail. Light-spotted underside including                                                                                         Habitat and
                                                    white under gray and rust; rust color on neck,                                    Habits: Lives
F.!ce.                                              Aanks, and legs; bushy tail topped with black                                     in marshes,
                                 Uabit.lt ~nd       snipe and tip.                                                                    ponds, and
                                  H.1bits: Lives    _::...__ _:.__ _ _...,..,... Habit~! and
                                                                                                                                     srream.~.
                                 in thicketS of                          Habits:                                              Omnivorous;
                                 shrubs or rrees,                        Lives in truckers                                    feeds primarily
                                 swamplands,                             of shrubs or rrees,                                  on aquaric
                                 woodlands,
                                 rimrock. and
                                                                         open woodlands,
                                                                         and rocky areas.
                                                                                                     '------=------'          vegetation, but
                                                                                             also on frogs, and small f.sh on occasion. T,vo
                                 rocky prairies.                         Omnivorous.         to six young per liner; two to three liners per
                                 Carnivorous.                            Mostly nocturnal. ynr.
                                 Mainly             '------......-.--__; Thr..: to seven
nocturnal and soUtary. Two to four kitrens in       young born Apr.-May.
one liner can be born throughout the ynr.




 Common Raccoon                                                                                      Fisher




           Oculooyal _ _ , _

Medium·srz.ed with dark and light mixed fur;
distinctive black mask across white face; small·                Colnosvall--&-
                                                                                                     Long-bodied, dark brown ro nearly black with
ro medium-sized ears and ringed tail.               Medium-sized with gray tO reddish-gray fur,      grayish head.
                                 H.abat:u lnd       more red on legs, feet, and cars; dark-ripped                              Habitat and
                              ,. Uabit':            tail; whitish beUy and throat.                                             H.tbits:
                                  Lives in                                          Habit.-u and                               Lives in mixed
                                 woods, often                                     H;~bits:                                     coniferous and
                                   near warer;                                    Lives in prairies,                           hardwood foresrs.
                                  also found in                                   open woodlands,                              Good climbers
                                  urban areas.                                    sluublands,                                  and swimmers,
                                  Omnivorous.                                     and a variety                                at home on me
                                  Nocrum:U.                                       of habitatS.       1....---------~ ground or in trees.
                                  Two to seven                                    Carnivorous.       Omnivorous, primarily carnivorous. One tO six
                                  young born                                      Mainly             young born Mar.-Apr.
                                  Apr.-May.         ' - - - - - - - - - - ' nocrurnal, but
                                                    can be aaive anytime. Five to ten pups born
                                                    Apr.-May.

                    0 summec range                  0 winter range                  0 all-year range             0 not present
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                                                                                                      Mink




                                                                                                               0TcoiJ.I.t1CI\_ .... _

                                                                                                      Medium-sized with dask brown fur and white
         0TcoiJ.I.t1CI\_...,...,_
                                                                                                      chin patch; rail slightly bushy.
Small- co mMium-siud with pale gray ro buff                                                                                            fbbiutand
yellow body; whitish underside; large ears;                                                                                            fhbiu:
black-tipped tail.                                                                    Habitat
                                                                                      and Habiuo                                       Lives along
                      Habirat .md ll.tbits:                                           Uveson aU                                         rive.rs,
                      Lives in open deserts or                                        types ofland,                                  streams,
                      plains with low vegcm-                                          preferably                                     marshes,
                      tion. Carnivorous; feeds                                        near water.                                    ponds,
                      primarily on small                                              Carnivorous.                                   and lakes.
                      rodents and insecrs.                                            Mosdy                                          C1rnivorous.
                      Nocturnal. Four co seven                                        nocturnal.                                     Polygamous.
                      pups born Feb.-Apr.         '------'""-'"-....:::.'----~        Four to eight   Four to ten young born Jan.-Mar.
                                                  young born Apr.- May.




Mountain Cottontail Rabbit                         Pine Marten                                        Porcupine
(N utta II'S)



                                        e

                                       0                    0l(lmJ. ~usedMlh-

         OTonoJ.I.t1CI\                          0ark brown to blond, with an orange or tan         Large rodent, size of small dog; chunky body
                                                 throat patch, dark legs, light-colored head, and with s.hort legs. Color varies &om black ro
Small-sized with brownish-gray fur; whhe         long bushy tail.
cottontail and underside; rounded ears are                                                          brownish-yeUow. Sharp spines on rump
                                                                                   Hahit.tt and     and tail.
shorter than those of the Eastern Cottontail and                                   Habits:
                           Desert Cononrail                                                                                        H.tbitat and
                                                                                   Prefers                                         Habits:
                           and are furry on the                                    coniferous                                       Lives in forests or
                           insides with black                                      forests ot cedar                                in brushy areas.
                           lips.                                                   swamps. Active                                  Herbivorous;
                            Habitat and                                            late afternoon,                                 likes salt. Lives
                           H.tbit.:                                                eady  mornings,                                 7-8 years.
                                                 \....._ _ _ _ _ __ _...- and at night.
                            Uvesinwooded                                                                                            Primarily
                                                 Omnivorous, primarily carnivorous. Two to five
areas and in brushy areas with sagebrush.        young.                                             \.....::-::--------:---:-;-' nocturnal. Mates
                                                                                                    in fall; one young born May-Jun.
Herbivorous. Thrtt ro eight young per litter;
2-5 liners per year.

                      0 summer range               O winter range                 0    all-~ range                0 not present
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                                                                                                               River Otter




                    ~~~....._.,
                                                                                                                             ~~~--·-
                                                                                                              Large-siz.cd and    weasel-like wid1 brown fUr and
Medium-siud, usually reddish-yellow but                                                                       silvery face, chin, and underside; feet webbed;
                                                                   o..tosy(l _ _ , _
sometimes gray; can range from darker ro                                                                      t:ail thick at base.
lighter; bushy tail with white tip; usually dark                                                                                                    Habitat and
                                                           Small- co medium-siud with yellowish gray to
                                        I~ and paws.
                                                           darker fUr; long whitish and blackish-brown                                              Habiu:
                                        Habit.,! qnd       ringed tail; small head and medium-siud ears.                                            Lives in
                                        fhhih:                                                                                                      aquatic
                                                                                     Habitat and Habit~:
                                        Lives in mixed                                                                                              habitats
                                                                                     Lives in rocky ridges,
                                        woodlands,                                                                                                  around
                                                                                     cliffi, thickets of
                                        f.uming are:JS,                              shrubs or rrees, semi-                                         marshes,
                                        and open                                                                                                    ponds, and
                                                                                     deserts, and near
                                        country.                                                                                                    screams.
                                                                                     water. Omnivorous.       \....__ _ _ _ _ _ _ _                 Carnivorous;
\ . . _ - - - - - ' ' - - - - - - . - i Carnivorous.                                                                                         .-~

                                                                                     Lives up ro eight years.
Three ro seven young born Apr.-May.                                                  Nocturnal. Three to      feeds   on fish, frogs, crayfish, and crustacea.
                                                           four young born May-Jun.                           Lives more than 14 years. One to five young.




(
Spotted Skunk                                                                                                    Striped Skunk




Small-sized with black fUr and white                      o..tosy<l _ _ , _        ------..:::::=:::=;
patches on forehead and under ears; four                  Small•siud with
broken white stripes along neck, back,                    yellowish or reddish
                                                                                                                Medium·siud with black fur and white
and sides; white-tipped t:ail.                            back and lighter
                                                          underside; bushy                                      stripes from top of head to nose.
                           Hahit.ll anti                  tail. Includes Eastern                                                                  Habitat .md
                           Habito: Lives                  f'<lx, Gray, and Red                                                                    lfttbiu:
                           in shrublands,                 Squirrel.                                                                               Lives in
                           f.trm ing areas,                                                                                                      semi-open
                           open wooded                                                                                                            prairies,
                           lots, prairies,                                         Habitat and Hahiu:
                                                                                  Lives in open                 "---'---'-'-------1 thickets of
'----~~~--' and along                                                                                           shrubs or trees, fa.rming :ucas, and mixed
                                                                                   woodlands, forests,
srreams. Carnivorous. Noaurnal. Like                                               river bottoms, pine          woods near water. Omnivorous. Mostly
striped skunk, emits a strong scent in                                             forests interspersed          nocturnal. Emits a strong scent in defense.
defense. Four to seven young born May-                    " - - - - - - - - ' with hardwoods, and                Five to six young born in May.
Jun.                                                      clearings. Herbivorous. Lives up to 15 years.
                                                          Two ro seven young per litter.

                      Osummer range                         Owinter range                  D all-year range                 0 not present
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                                                     Wolverine                                          Upland Birds' Feet

                                                                                                         Grouse




                                                              o ..... J.llrllll.-·~
Small- to mcdium-si:z.cd with g12y ro tUrk g12y      Dark brown and bear-like with yellowish stripes
fur; whitish f.lce; small ears; 12r-like tail.       starting ar the shoulder and joining at the
                                    II ahit. • and   rump.
                                    lhbit>:          ,..--'---- - - ----.. Habitat and
                                   Lives in                                Habits: Lives
                                   woodland and                                     dose ro the
                                   f..rming areas;                                  timberline or
                                   also found in                                    on the mnd12.
                                    urban areas.                                    Omnivorous,
                                   Omnivorous.                                       primarily
                                    Nocmrnal. Up                                     carnivorous.
' - - - - - - - - - - - ' to 14 young                '----'---------' Travels miles in
per litter several times a year. Young remain in     search of food. Primarily nocturnal. Young born
mother's pouch for several months.                   Feb.- Apr.




               ._ _--                 -----
                                   r~~-              _    ~
                                                              -                      -
                                                                  .Upland·_Birds:_.._.,__
                                                                                           -
                                                                                                                  _ ~ -
                                                                                                                          --          -     -
                                                                                                                                  . ~- ~3- ~~
                                                                                                                                                     -~




American Crow                                        Band-Tailed Pigeon                                 California (Valley) Quail




              OF.EUgn--wiii-
Srocky, all-black bird with f.m-shaped ail.
                              ll:abitatiUld          Dark gray with purple below; broad lighr band
                              H.1birs:               on end of square rail; white crescent on back of
                              Lives almost           head; black tip on end of yellow bill.
                              anywhere excepr                                          Habitat and
                              deserts and pine                                       Habits:
                              forests. Makes a
                              "c:~w-Clw" call.
                                                                                     Lives in conif-
                              NestS in uees; 4-6                                     erous forests
'----....__ _ _..,~ green-colored cw                                                 and oak or
with brown spots.                                                                    pine-oak                                            Lives in brush, in
                                                     '----------"-....J woodlands.                                                       foothills, and in
                                                     Makes an owl-li.ke "whoo-hoo" call. Nests in                                        live oak can)'OflS.
                                                     rrees; I white egg.                                '---.J.l.:._.__._..._..;;_~
                                                                                                                                  ;;..,~ Makes a loud
                                                                                                        "ka-kah-ko" call. NestS in depressions; 12-16
                                                                                                        cream-colored cw with golden brown spotS.

                    0 summer range                    Owinter range                 0 all-year range                0 not present
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Chukar                                                   Dusky (Blue) Grouse                                Gambel's Quail




           OTOmJ.lll'dl. -1 ..... . . , _

Lighr brown back with gray head and chest;
                                                 Male is gray with orange-yellow or red comb
                                                 over eye; yeUow skin on neck; gray band at end
                                                 of dark rail. Female is brown with dark rail.
                                                                                               -
                                                                                     OloniJ.._....,..,



                                                                                                   Pale gray; black face oudined in whire; back of
white below; white face and neck outlined in
                                                 , . - - - - - - - - - - . Habitat and             head is rust-colored; teardrop-shaped topknot.
black; black and white run-colored stripes on                                     Habits:          Female is brown with a buff-colored neck and
sides; bright red on edge of tail.                                                Lives in coastal smaller topknot.
                                   Habitat and                                    rain forest and                             Habitat and Habits:
                                   Habits:                                                                                    Lives in desert-like
                                                                                  just below
                                   Lives in                                                                                   shrublands. Makes
                                                                                  moun rain
                                   rocky hills                                                                                "co<><ut" and "chi-ca.·
                                                                                  timberline.                                 co-coo" call.
                                   and canyons.
                                                 '---- - - - - -- - ' Makes a
                                   Makes a
'---......O.-------~-' "chuck-chuck- "whoop, whoop, whoop, whoop" call. Nests in
  -                                              shelter of stumps or rocks; 5-10 cream-colored
chuck" cill. Nesrs in rocks or brush; 8-15 white
                                                 eggs with brown spors.
eggs with brown spots.



 -        -~-;- -~-
        -.....:......:_~~- --~---- -
                                       -,- ·-:;, --
                                                          -
                                                                    U I (fB;-         cr·~
                                                                _-_._ p ~"- !!:...~ ·- ....,.,_.
                                                                                                           -      -- - .•
                                                                                                                                         . ·.
                                                                                                                                -=·- ·- ___,_ ... .•.•
                                                                                                                                                           -~·



                                                         Mountain Quail                                     Mourning Dove




                                                                                                                             COUrlolyCif _ _, _


Chicken-like with gray body; rusr-colored face                0-ESmll,_,...,pormission                       Light grayish-brown; lighter below; wings are
and throat; brown stripes on wing.s; rust-colored Brown back wirh gray head, neck, and chest;                darker; tail has tipped ourer feathers.
                                            tail visible rust-colored throat; rust-colored sides with                                          Habitat and
                                            in flight.   white stripes; long. straight, black head feathers.                                   Habits:
                                            Male                                                                                               Lives in dry
                                                                                          Habibt and                                           uplands,
                                            has large                                     Habits:                                             grain fields,
                                            brown                                         Lives in                                             thickets of
                                            patch                                         mountains and in                                    shrubs ot trees,
' - - -....l....:"'-'---:...!......;::=---' below.                                        brushy areas and                                     shrublands,
                                                                                          thickets. Makes                                      and deserts.
Lives in open f.mnlands and in trees separating          '---"-'-.....,..=-__;--' a loud "kyork"                                               Unmated
farms. Makes a hoarse "kee-uck" call; c:ackles           or "woook" caU. Nests in hidden depressions;        ~~------~--~~ m~emakesa
                                                                                                             "ooahoo-oo-oo-oo" sound. Breeding male and
rapidly when flushed. Nests in depressions               8-12 light red eggs.                                female make a short "ooahoo" call. NestS in
hidden in ~tion; 10-20 olive-c:olored eggs.                                                                  lrees; two white eggs.

                      Oswnmer range                      0   winter range              0 all-year range                 0   not present
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Ring-Necked Pheasant                                 Rock Dove (Pigeon)                                  Ruffed Grouse




              C<uloorol _ _, _                       Most ofren dark gray head, iridescem neck, and                     Olam J.Uritl\_...,_
                                                     dark bars on wings.                              Brown ro grayish-brown, with black ruffs
Large, chicken-like bird. Male is gold-colored                                       Habitat and      (sides of neck). Chicken-like in form with slight
with white neck band; grttn and purple irides·                                       Habits:          crest.
cent head; red warde around eyes. Hen is dull                                        Lives in cities, ,.---------------,,.....-...._ Habiut and
brown with dark Reeks on wings and back.                                             parks, bridges,                                     Habits:
Both have long tail feathers.                                                        and steep cliffs.                                   Lives in
                                   Habitat and                                       Male and                                            forests with
                                   Habits:                                           female m:Uce                                        dense under-
                                   Lives in                                           a "'coo<OO"                                        growth and
                                   farmla.nds                                         sound when                                         brushy areas.
                                   near woods.                                        breeding. Nests                                    Alarm call is
                                   Malem:Uces        '-----,.-----------....J on building             ~~~-:----:---:-:--:-' a sharp "quit·
                                     "skw:lgocl<"    ledges, rafters, and barn beams; 1-2 white eggs. quit"; female makes sofr clucking sound. Nesa
~------------------' Qdde;~male                                                                       under brush; 9-12 buff-colored eggs.
makes "kia-kia" sound. Flies for short distances.
Nests in grasses and shrubs; 10-12 brownish-
green eggs.


         ~      ~    _               _                             Upland Birds ·
Sage Grouse                                           Spruce Grouse                                      White-Winged Dove




Grayish-brown; black below. Male h~ long             Male has grayish-brown body; black throat and
pointed rail and white breast; inflates yellowish·   breast; red comb over eye. Female has brown
                                                     body with black bars below.                         ~...--r---r""T--::::-:--""""'      Habi tat and
green air sacs during courtShip.                                                                                                            Habits:
                                   Habiut and                                       Habitat and
                                                                                    Habits:                                                 Lives in dry
                                   llabiu:                                                                                                  grasslands
                                   Lives in open                                    Lives in conif·
                                                                                                                                            with shrubs
                                  country and                                       erous forests.                                          and small
                                  sagebrush                                         Male makes                                               trees. Makes
                                   plains. Makes     ~------------------' a low-pitched                  ~---------------' a soft "who-
                                                     "krrrrk. krrrk, krrk" sound; female m:Uces low      cooks-for-you" call. Nests in tree branches; 1-4
~--:'n..----~- a cackling     ....                   ducking sound. Nests on ground; 8-11 buff-          creamy white eggs.
sound; male makes bubbling sounds during
coUrtShip. Nesrs in depressions, usually under       colored eggs, possibly with brown spots.
sagebrush; 6-9 olive-colored eggs with light
brown spots.

                    Osummec range                     0   winter range               0 all-year range               0   not present
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Wild Turkey                                        American White Pelican                             Brown Pelican
                                                                                 Large with white                                                Large with
                                                                                 body; large orange                                              grayish-brown
                                                                                 bill and throat                                                 body and dark
                                                                                 pouch. Immature                                                 bill and throat
                                                               ----~.._..., has gray bill and                                                    pouch.
                                                                .... .....,.r"ll pouch.                                                          Habitat and
                                                                                 Habit.'\tand                                                    Habits:
                                                                 .""'f:~:;.,.• Habits:                                                           Found exclu-

                                                                 !i §            In summer found
                                                                                 on marshes and
                                                                                                                                                 sively on coastal
                                                                                                                                                 areas year-round.
                                                                                                                                                 Usllally makes
                                                                                                                                                 no sound. Nests
Large, long-legged bird with dark, iridescent                                                                                                    in colonies on
body; featherless, reddish head. Male is larger                                                                                                  high ground in
                                                                                                                                                 dirt; 2-4 white
and more iridescent than female.
                                                                                                                                                 eggs.
                                  Habitat and
                                  Habits:
                                  Uves in open
                                  woodlands,
                                  brush country,
                                  thickets of
                                  shrubs or
~---:-:--:---:--:---" trees, river
bottoms, and hardwoods. Uves up to 12 years.
Polygamous males. Maring call is a gobble;
normal calls are ducks, putts, and purrs. Nests
in depressions; 6-20 whitish eggs.




 Great Blue Heron                                  Great Egret                                        Sandhill Crane
                                                                                                                                                      Tall, grayish with
                                                                                                                                                      some reddish coloring
                                                                                                                                                      on back and red patch
                                                                                                                                                      above bill. Immature
                                                                                                                                                      is also gray, but more
                                                                                                                                                      reddish and without
                                                                                                                                                      red patch above bill.
                                                                                                                                                      Habitat and Habits:
                                                                                                                                                      In summer found
               OlOm J. Uridi.\.OedMih~                                                                                                                on tundra, wedands,
Large grayish-blue heron with black areas on                                                                                                          prairies, and fields;
                                                                                                                                                      in winter found
wings and top of head; white fuce; light yeUow                                                                                                        in shaUow ponds,
bill. Neck folded in flight.                                                  Habitat and                                                             marshes, and fields.
                                Habitat and                                   Habits:                 ~o~oon~~~aausM!~Pt~IQO)gl~"'tl~o.....,llll,...~ Makes a low-pitched
                                Habits:                                       Found in marshy                                        ;,...._. call. Nests in grasses
                                Found on                                      areas and on            ,------_:._--, in or near water; 1-3
                                 lakes, rivers,                               seashores. Makes                                                         pale green eggs.
                                 ponds,                                       a croaking or
                                 marshes,                                     squawking SOllnd.
                                 and swarnps.      '-----=--='-----' Nests in trees,
'----'---'----- -' Makes a                         bushes, or cattails; 1-6 aqua-colored eggs.
squawking sound. Nests in colonies usually
fOund in trees or shrubs, but sometimes on the
ground; 3-7 aqua-colored eggs.

                   0 summer range                  0 winter range                  0 all-year range                       0    not present
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Wilson's (Common) Snipe                                American Kestrel (Sparrow Hawk)                     Bald Eagle
                                                                                    Small falcon. Male                                          large, dark bird
                                                                                    has rust-rolored                                            with white head
                                                                                    back and rail; blue-                                        and rail; yellow
                                                                                                                                                bill. Immature:
                                                                                    gray wings; white
                                                                                                                                                Brownish, speckled
                                                                                    with dark spots                                             with more white
                                                                                    below; black tip                                            under wings and
                                                                                    on rail. Female has                                         belly.
                                                                                    rust-rolored back.                                          Habitat and
                                                                                    rail, and wings;                                            Habi~:
          OlamJ.I.tlcft,-·~                                                         white with dark                                                 Found on lakes,
                                                                                    spors below; narrow                                             rivers, and coastal
Long-billed, dark brown and black shorebird                                                                                                         mas. Makes a
with white stripes on head and back. Outer                                          brown wipes on
                                                                                                                                                    loudscr=h.
cail feathers are whire with black bars. Flies in                                   cail. Both have 2                                               Nests on cliffs or
zigzag pattern.                                                      """""'- black stripes on side
r....;:...:..__ _ _ _ _....,. H;1bitat and                                                                                    ""'-"Gio'iKta~Nr in trees; 1-3 pale
                                                                                    of white F.tce.        ,.---........;;...;;.:.........;.:.._""' blue eggs.
                              Habits:
                              Found in wet                                          Habitat and
                              meadows and                                           Habits:
                              freshwater                                            Found in cities, on
                              m:ll'shes; in                                         farms, and in open
                              winter also found                                     country. Makes a
                              in saltwater             ' - - - - - - - - - - - ' "killy-killy-killy"
                              marshes. Makes a         call. Nests in cavities; 3-7 white or pink eggs
'--------...J                 "scaip" call when
                                                        with dark blotches.
flushed. Nests in depressions in marshy a=s; 4
yeUowish-oli~olored esfi'l with brown spots
and brown circle at large end.



Barred Owl
                                  urge. grayish-                                       Dark brown                                                 Largest bird of
                                  brown with                                           with white                                                 prey in North
                                  cross-barring                                        spots; lighter                                             Ame.riea. Blade
                                  on neck and                                          chest with                                                 with reddish
                                  chest, suiping                                       dark spots;
                                  on belly; dark                                       yellow eyes.                                               head; white
                                  eyes; no ear                                         Habitat                                                    on underside
                                   rufis.                                              and Habib:                                                 of wings.
                                  Habiutand                                            Found                                                      Immature: Black
                                  Habits:                                              in fields,                                                 head.
                                  Found in                                             grasslands,                                                Habitat and
                                  densely                                              and deserrs.
                                  forested a.re:JS                                     Makes a                                                    Habits:
                                  and wooded                                                                                                      Found in


                                                                                                                                                   open country.
                                                                                                                                                   Usually silent.
                                                                                                                                                   Nesrs in inac-
                                   in rree cavities;
                                   2-4 white eggs.                                                                                                 cessible caves
                                                                                                                                                   or cliff cavities;
                                                                                                           ..__......,_,_,__....._~-----
                                                                                                                                                   I white egg•




                    0 summer range                      Owinter range                  0   all-year range                 0 not present
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Common Barn Owl                                    Ferruginous Hawk                                            Golden Eagle
                               Light brown                                                  Very large hawk                            Large. dark
                               with whire                                                   that is reddish                            bird. lmmarure:
                               he:m-shaped                                              ~and                                           Dark wirh white
                               f.u:e, dark eyes,                                                                                       patches under
                                                                                            white below
                               andwhirc                                                                                                win~ and on
                               breast.                                                      with reddish                               tail.
                               llabuat and                                                  leg feathers and                           H.lbitilt and
                               Hab iu·                                                      black tips on                              Habits:
                               Found in                                                     underside of                               Found in
                               fields, gf3$Y                                                ~·
                               lands,d=ru,
                               and suburban
                               areas. Makes        , . - - - -- - - - , Found on
                               a screeching
                               all. Nesrs in                            open land,
                               abandoned                                grasslands, sage-
                               build in~,                               brush plains,
          C!lollelyoll--&1\Urt rree hollows,                            and badlands.
.....-------..,.-..,.--.. and holes in
                               ground; 4-7                              Makes a loud
                                 whire~.
                                                                        "kree-e-ah"
                                                                        all. NestS in
                                                   ~---~---J trees,onclllf
                                                   edges, or on the ground; 2-Q white ~with
                                                   brown spots or blotches.




Great Horned Owl                                   Northern Harrier (Marsh Hawk)
                                 large, grayish                                             Male is                                 large. speckled
                                 with brown                                                 grayish- brown                          brown 12lron with
                                 specks; yellow                                             with lighter                            bluish-gray back.
                                 eyes and ear                                               underside.                              darker head, and
                                 rufts.                                                     Female is larger                        lighter neck and
                                 Habitat and                                                and brown                               chest. lmmarure
                                 H~bir,:                                                    with streaked                           Streaked belly and
                         Found almost              -...-!~...,.,-,..,.--'-..,.,----,_,..,   underside. Both                         breast.
                         evetyWhere.                    Oli>mJ.IJridl._""'_                 havewhite                               Habitat and
                         Makes a                                                            patch on rump.                          Habits:
                         rhythmic                                                           Habitat and                              Found ncar cliffs,
                         hooting all.                                                       H.abil3:                                 urban, and coastal
                  -·--.~ Lives in nests                                                     Found in fields,                        areas. Makes a high-
~~~~~~~~~~ abandoned
r          by other birds
                                                                                            grasslands,
                                                                                            and marshes.
                                                                                                                                     pitched "ki-ki-ki-ki"
                                                                                                                                    eall. Nests in cliffs;
                                 and smaU                                                   Generally                               3-4 white ew.
                                 mammals;                                                   quiet unless       ,---===-==;
                                 1-4 white~·                                                alarmed. Nesrs
                                                   '-------'=-=--- --'                      on ground; 3-9
                                                                                            pale blue~.




                   0   summer range                 0 winter range                            0 all-year range           0    not present
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                                                                                                   Exhibit 2
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Prairie Falcon                                               Red-Tailed Hawk
                                      Large speckled              P'l-11:1""~1 Mosr common                                                  Large long-winged
                                      brown falcon with                                 hawk. Light                                         hawk with dark
                                      datk mousache-                                    phase Brown                                         band at end of
                                      type lines down                                   with white chest                                    uil. Light phase
                                      facr; dttk pacchcs                                and short, rust·                                    White with datk
                                      on underside of                                   colored tail.
                                      wings.                                            Dark phase
                                      llabat~t and                                      Dark brown
                                      llabiu                                            with darker
                                      Found on plains,                                  rust<alored
                                                                                        tail. lmmarure:
,....-....!!~~~~~~ grasslands, and
                                   barren moun-
                                   tains. Makes a            :~~~~~~~Lacks    rust·
                                                                        colored tail.
                                   "krc:e-kree-kree"                                     Habitat and                                 ups on underside
                                                                                                             ...__ _ _ _ __.;.._ __, of gray wings;
                                   call, usually near                                    Habits:
                                   nest. Nesrs on                                        Found in decid·     male's rail has narrow white bands; female's tail is
                                   cliff ledges; 2-7                                     uous foresrs and    gray with dark band at tip. lmmarure: Gray band
                                   white or pink-            ' - - - - - - - - - - ' open country            ar end of tail.
...__ ___:::..;..:;;._......:.:__, colored eggs with         such as grasslands, plains, and farming         Habitat and Habit\!
                                      brown marks.            areas. Makes a "keeeeer." "klooettk." or       In summer found on the arctic rundra; in winter
                                                             "chwirk" call. Nests in tall trees or on        on open plains, f.umland, and marshes. Makes
                                                              rocky ledges; 1-5 white eggs with dark         a loud or soft whisding sound. Nests on cliffs or
                                                             spors.                                          open tundra; 2-7 white eggs with brown and
                                                                                                             black spots.




 Spotted Owl                                                 Swainson's Hawk                                 White-Tailed Kite (Black-Shouldered)
                                           Dark brown                                   Brown with white                                    Gray with white
                                          with ,vflire                                  throat, light                                       chest, head, and
                                          spors; chesc                                  brown chest, and                                    tail; blaek patch
                                          white v.oith                                  white below; pale                                   on rop of wings
                                          brown stripes;                                area on underside                                   ("shoulders");
                                          dark eyes; no                                 of long wings;                                      white and black
                                           ear tufu.                                    dark brown cUI                                      on underside of
                                           Habttal tnd                                  with indistinct                                     wings. lmmarure:
                                           Habiu:                                       Stripes. Rare dttk                                  Black wings;
                                           Found in                                     phase: AU dark                                      brown back;
                                           coniferous                                   with reddish area                                   reddish chesr;
                                           forests and                                  on underside of                                     buff<alored stripe
                                           wooded                                       wings.                                              near rip of rail.
                                           canyons.                                     Habitat a.nd         ,.-~=~~~~~~ Ilabitat and
                                           Makes a                                      Habits:                                             Habits:
                                                                                                                                            Found in open
                                                                                                                                            country with scat-
                                                                                                                                            tered trees, 11elds,
                                           Nests in                                                                                         and grasslands.
                                           trees or rock                                                                                    Makes a "keep-
                                           crevices; 2-3                                                     .___ ___._...___-' keep-keep• call.
\...._....:..:..J........J.....::....._ _.__:# white eggs.                                                    Ncsrs in tall trees; ~ whicc eggs with brown
                                                                                        spots.               spots.

                         Osummec range                        Owinter range                  0 all-year range               0 not present
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                                                                                                  Exhibit 2
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                          Waterfowl
                                                                          s;!)                 American Wigeon

Waterfowl are warm-blooded aninuls mar live on or near w:uer,
and include diving ducks and puddle ducks.
Puddle ducks are found primarily on me shallow~ oflakes, rivers.
and freshwater marshes. Puddle ducks prefer to fc:c:d on or near
the water'~ surfuce. They launch themselves dirttrly upvr~rrl when
mkingoiT.
Diving ducks inhabit large deep lakes and rivers, co:ur.1l bays, and
inlets. Diving ducks obtain m= of their food by diving. They            Male i.s brown with white crown,
must run ;JCtoSS the w~tcr to build up spc:c:d to take ofT.             green eye patch; green and white
                                                                        on win~ vis.iblc in flight. Female
Edipse plumage: Most ducks shed their body feathers twice each          i.s mottled brown wim gray head.
)-eat.Nearly all drakes lose their bright plum:.gc after mating. and     Both have pale blue bill.
for a few v.'Ceks resemble females. This hen-like appearance is          Habitat and Habits:
called me eclipse plum:.gc. The rerum to breeding coloration varies      Found on lakes, marshes, a.nd
in species and individuals of eacb species. Blue-winged teal and         ponds. Makes quacking and
shovc:lcrs may ret:tin me eclipse plumage until well into the winrer.   whistling sounds. Nests in grasses
Wing feathers arc shed only once a year. wing colors arc alw~ys          near water; 9-11 cream eggs.
me same.



                        Waterfowl Feet



                                                                           r;;ft                Blue-Winged Teal




                                                                        Male i.s brown- and buff-speckled;
                                                                        gP-Y head with white crescent in
   s;!j         Puddle Duck                                             from of eye; pale blue parch on
                                                                        win~. ~male is brown-speckled;
surface· fct-d~ on fresh, shallow marshe~ and ponds                     smaller pale blue patch on win~.
                                                                        Habitat and Habirs: In summer
  ~             Diving Duck                                             found on small lakes in open
                                                                        grasslands; in winter on marshes
dives for food in deeper lakes dfld ponds, coastal                      and coastal areas. Male peeps;
bays, and tnlets                                                        female quacks. Nests in grasses
                                                                        near water; 6-15 white eggs.
   '\:(        Goose or Swan
large. long- necked waterfowl
 c.noo,.-...-
 -1011111*dllall!ldisiii-A - - Q O : f o
 .._ • ..,05

                    0 summer range                   O winter range           0 all-year range               0 not present
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                                                                                   Exhibit 2
                                                                                     0106
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  r;fJ,                 Cinnamon Teal                                  r;;ft                 Eurasian Wigeon




~le has reddish body, neck, and                                      Male is gray with rust-<:oloml head,
head with black coloring on top of                                   pinkish chest, and bufT-<:oloml crown.
head, wings, and back. Female is                                     ~male is morded brown. Both
S!l(Ckled brown with white around                                    have large white parches on wings
bill.                                                                ("shoulders") and dull blue biU with
Habitat and H:lbits: Found on                                        black rip.
lakes and marshes. Male whistles;                                    Habitat and Habits: Found on lakes,
female quacks. Nests in grasses;                                     marshes, and ponds. Makes a one- or two-
7- 12 pinkish eggs.                                                  note whistling call; usually silent in the
                                                                     United States. Nests in grasses hidden in
                                                                     vegetation; 7-10 white eggs.




  r;fJ,                      Gadwall                                   r;;ft                    Greater Scaup




                                                                     Male has aUght gray body and white
Male is gray with Ught brown                                         sides with dark head, breast, and rail.
bead; white patch on back                                            ~ale is d:lrk brown with white spotS

of wing; black rump. ~male                                           on either side of bill. Heads on both are
is motded brown with white                                           shaped Uke a rounded rectllllgle. Ught
patch on back of wing.                                               band on edge of wings extends almosr
                                                                     ro the rip.
Habitat and Habits:
Found on open lakes and                                              Habitat and Habits: In summer
marshes. Male makes a whisde                                         found on lakes, bays, and ponds: in
and "kack-kack.• Nests on                                            winter often found on salt water and
islands in colonies; 7-13 white                                      coastal ponds. Male makes a "scaup,
eggs.                                                                scaup• call; female is mostly silent. Nests
                                                                     in grasses on land or on islands away
                                                                     from shore; 8-12 pale green eggs.




                                                                                                                           Hen

                   0   summer range            0   winter range         0 all-ycac range                 0   not present

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  r;!j,               Green-Winged Teal                              ~                           Mallard




                                                                   Most common duck. Male often
~    is gray with white vertical
                                                                   called "g=nhead."
bar on shouldet; rust head with
green band. Female is spedded                                      Habittt and Habits:
darlc brown and white with darlc                                   Found in dttp lakes, slow ri\oers,
band aaoss eye.                                                    ponds. and sometimes bays.                           Hen
Habitat :md Habits: In summer                                      Main wintering area is the lower
                                                                   Mississippi basin and along the
                                                                                                        :===========::
found on ponds and lakes; in
                                                                   Gulf Coasr; many as f.u north
winter on rivers and coastal
                                                                   as open waters permir. Female
marshes. Male whistles; female
                                                                   quacks loudly; male makes quiet
quacks. Nests in g=.     not
                                                                   "yeeb" or low "kwek." Nests near
always near water; 7-15 pale green
                                                                   water; S-10 greenish-white eggs.
eggs.                                                                                                   ~------~--~---J




  r;!j,                  Northern Pintail                             -s;;J.               Northern Shoveler




Long·necked, slender duck with
pointed ail. Male has darlc brown                                   Male has darlc green head;
head; white breast and neck; gray                                   white breast; rust-colored
Ranks and wings. Female has                                         wings. Female is brown-Aecked
light brown-speckled body; light                                    with pale blue on shoulders.
brown head and neck; gray bill.                                     Habitat autd l labiu: Found
Habitnt and Habits:                  ~~                             on shallow lakes and ponds,
Summers on marshes and ponds;                   ·~                  and sometimes on brackish
winters on coastal bays, lakes,                                     marshes. Male croaks; female
and grain Adds. Female quacks                                       quacks. Nests in grasses, not
coarsely; male whistles. Nests near           pse Drake             always near water; 6-14 pale
water; 6-121ight green eggs.        '---------'---~                 green eggs.




                    Osummer range             0 winter range                                            0 not present
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  r;ft                        Wood Duck                                         ~                   Barrow's Goldeneye




                                                                              Male is white with black back and
                                                                              head; head acrually purple in bright
Male has colorful c:=red head and                                             light; black and white wings; white
red eytS; iridescent greens, purples,                                         spot in fi-ont of eye; black biU.
and blues over entire body with                                               Female is gray with brown head
white markings. Female is light                                               and white collar; usually a yellow-
brown-speckled and has white-                                                 orange biU.
ringed eyes.                                                                  Habitat and Habits: In summer
Habirat and Habits: Found                                                     found on wooded lakes and rivers;
on swamps, ponds, and rivers                                                  in winter on coasral areas. Male
near wooded areas. Male makes                                                 grums and croaks during courtship;
a "hoo-w-etr" call; female makes                                              female is mosdy silent. Nests in
an 1\too-eek.b NestS in uec C:lvities;                                        hollow trees or rock crevices; 5-15
 I 0-15 dull whitish ~·                                                       pale olive-colored ~·




   ~                           Bufflehead                                       ~
                                                                                    ~~                    Canvasback




                                                                              Male has white body; reddish head;
Male is mostly white with black                                               black breast, biU, and rail. Female has
back and white patch at back of                                               gray body and brown head.
head. Female is grayish with white
patch below eye.                                                              Habitat and Habits: ln summer
                                                                              found on lakes and marshes; in
Habit.tt and Habits: In summer                                                winrer on lakes and coastal waters.
found on lakes and rivers near                                                Male coos during breeding; female
woods; in winter on lakes and                                                 quacks. Nesrs in reeds and grasses;
coastal areas. Male is usually silent;                                        7- 12 greenish~·
female quacks. Nests in tree cavilics; ' - - - - - - - - ' - - - - - '



 ~·Ob'f: 0~
                     0   summer range                  O winter range            0 all-year range                 0 not present
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  ~                  Common Goldeneye                                      ~                  Common Merganser




                                                         Drake


Male has white Oanks; black head
and back with round white spot
below eye. Female is gray with dark
head and white collar.
Habitat and Habits: ln summer
found on lakes and marshes; in
                                                        ..Hen
                                                                         Male has dark green bead; dark
                                                                         back; white neck and underside.
                                                                         Female is grayish-brown with
                                                                         reddish-brown head and white
                                                                         breast.
                                                                         Habitat and Habits: ln summer
                                                                         found on lakes and rivers near
winter on lakes and coast:tl areas.
                                                                         woods; in winter on freshwater
Male makes a shrW whistle; female
                                                                         lakes and ponds. Nests in tree                          Eclipse Drake
a low quack during breeding.
                                                                         cavities and rock crevices; 8-1 1
Otherwise, usu:tlly quiet. Nesrs in
uce cavities; 5-15 light green~·




  ~                  Hooded Merganser                                      ~                        Lesser Scaup




Male has dark crested head with                                          Male has white Ranks with dark
white patches, brownish sides, and                                       head, breast, and rail; speckled gray
whire breast. Female is gray with                                        back. Female is dark brown with
reddish-brown crest and lighter                                          white spotS on either side of bW
gray breast.                                                             base.
Habitat and I labil,: In summer                                          H abitat and Habits: In summer
found on rivers and lakes in                                             found on lakes and marshes; in
wooded areas; in wimer on coastal                                        \vinter on lakes and coastal areas.
areas. M:tle makes a croak-like                                          Male makes a purring call; females
sound; ~male a "gal<." Nests in                                          are mostly silent. Nests in grasses
tree cavities; 6-18 white eggs.                                          near water; 8-14 pale green eggs.




      ~            0 summer range                 0   winter range          0 aU-year range                    0   not present
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  ~               Red-Breasted Merganser                                   ~                          Redhead




Male lw dark green head, white                                           Male is gray with mddish head and
ncx:k. rusty red breast, and gray                                        black breasr. Female is brown with
sides. Female is gray-speckled with                                      darker brown back and crown.
light mel head and grayish neck.
                                                                         Habitat and Habits: Found
Habitat and Habits: In summer ~=========~                                on lakes and bays. Male makes
found on rivers and lakes; in                                            "meow" sound or quacks; female
winter on coastal areas. Nesrs                                           makes a soft low call. Nests in
under shrubs and logs; 5-1 1                                             rushes and grasses; 9-13 pale eggs.
greenish eggs.
                                    Eclipse Drnke




  ~                    Ring-Necked Duck                                    ~                        Ruddy Duck



                                                      4_
                                         ~rnke
                                                                         Male is mddisb-brown with black
                                                                         head and white cheek; in winter
Male is black with pale gray sides.                                      male looks similar to female.
Female is brown with darker back                                         Female is brown; darker on head
and has white-ringed eyes.                                               and back.
Habitat and Habit~: In summer                                            Habitat and Habits: ln summer
found on lakes and marshes; in                                           found on lakes; in winter on
winter on large lakes and coastal                                        coastal areas. Both sexes are mosdy
areas. Nests in grasses near water;                                      silent. Nests in grasses near water;
6-14 pale green eggs.                                                    6-10 white eggs.




                   0 summer range                  Owinter range            0 all-year range                0 not presen t
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                                                         f.

  'Q            Canada Goose                         'Q Greater White-Fronted Goose                                  Ross's Goose




                                                   Male and kmale are brown with white ring
Both male and female are brownish-gray; black      around base of bill; black bars on belly; orange
                                                   bill and feet.                                     Small and white with a shon pink bill; round
head and tail; white patch on cheek, breast,
                                                                                                      head; black tips on win~.
and underside.                                     , . - - - ---------, Habitat and
                                                                                                      Habitat and llabirs:
~----------- Habitat and                                                           HabiiS: In
                                                                                                      In summer found on the arctic tundra; in
                               Habics:                                             summer found
                                                                                                      ~------,_......, winter on saltwater
                               Found on lakes,                                     on tundra; in
                                                                                                                                a.nd freshwater
                               marshes, flclds,                                    winter on fields
                                                                                                                                marshes. Makes
                               and parks. Male                                     and marshes.
                                                                                                                                cackling and
                               and female                                          Male and female
                               make honking                        •               make a high-
                                                                                                                                gnmting sounds.
                                                                                                                                Nests on islands in
                               call. Nesrs on                                      pitched "kow-
~..__ _ __.:..:.:___ ___, water edges;                                                                                          lakes or rivers; }-5
                                                   '-----------J kow-kow-kow."                                                  light cream<nlored
                                 4-7 white eggs.   Nesrs in depressions; 4-7 whitish eggs.
                                                                                                                                 eggs.
       fl                                                f.
  \:7             Snow Goose                         \:7          Trumpeter Swan                                     Tundra Swan
                                                   One of
                                                   the largest,
                                                   rarest North
                                                   American
                                                   waterfowl.
                                                   All white                                                                             Immature
                                                   with a blade
                                                   bill. (Swans,
                                                   unlike snow
                                                   geese, do not have black wingtips. Also, swans                                         Adult
                                                   are much larger and have longer necks than
                                                   snow geese.)                                       Most common swan in ~tern pan of North
Male and kmale are white with dark gray on
underside of win~; short neck; large head.                                     Habitat and            America. AU white; black bill with yellow spot
                                                                               Habits:                in front of eye.
~-------., llabita.t and
                                                                               Almost driven into                               Habitat and
                         Habits:                                               extinction, their
                         In summer found on                                                                                     Habits:
                                                                               numbers have                                     In summer found on
                         rundro; in winter on                                  been increasing
                         flelds and wetlands.                                                                                   the arctic tundra; in
                                                                               due to conserva-                                 winter on marshes,
                         Male and female           1.__;......;._ _ _ _ _ _~ rion elforrs. Prekr
                         both honk. Nesrs in                                                                                    lakes, and ponds.
                                                   bodies of water with dense vegetation. Found                                 Makes a "hoo-ho-
                         grasses near warer i.n    in marshes, lakes, and rivers mosdy in the
                         colonies; }-5 white                                                          '--------:-~ hoo" or "kow-wow"
                                                    Northwest. Nesrs in bulrushes and beaver          call. Nests on mounds of grass on island or
L __        ___;=::..____J   eggs.                 lodges; 4-6 whitish eggs.                          shore of rundra lake; 2-7 cream<nlored eggs.

                     0   summer range               0   winter range              0 all-year range               0   not present
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                                                                                       Exhibit 2
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Chapter Reviews' Page 106                               Chapter Review Exerci~es                                   .     -           .

Chapter 1                                                                  7. List six types of ftrearm aetion1.
                                                                              i.
                                                                              u. ________________                  iv.
L   A primary objective of hum~r education programs is to __.
                                                                                                                   v.
    a. giv~ ~ry hum~r the same degree of skill and knowledge.                  ill. _________________
                                                                                                                   vi.
    b. ensu~ that everyune enjoys hunting and has an opportunity
      to bum.                                                              8. A safcry is located around th~ n::crivcr of the fire:trm and _ _.
    c. produ~ knowledgeable, responsible, and involved hunters.               a. ensures thar the firearm can n~r be a.ccidencally ft~.
   d. none of the above.                                                       b. is a devi~ that blocks the action to pmrenr aa:idenml firing.
                                                                               c. is always loca~ either inside or on the rrigger guard.
2. Name t.hrtt hunting-related projcas for w-hid1 the Federal Aid
                                                                               d. all of rh~ abov~.
   in Wildlife Restorntion Aa (Pimnan-Roberrson Aa) provides
   funding.                                                                9. The most aocurate sight for a fire:trm is the------~
    i. ----------------------------------
                                                                           IO.The design fearure that CIUSCS a bullet to spiral, which increases
    jj_ -
    iii.  -------------------------
         ____________________           _                                      accuracy and distance, is called-------------
                                                                           11.                          is a measure ~fated ro the diameter of
3. Which of rhesc is not a source of hunrer eduotion funding?                  the bore and rhc siu of the shorshdl designed for rhat bore.
   a. Smt~ highway departments                                             12. When referring to firearms, "caliber" is ___.
   b. Stare wildlife agencies                                                  a. the length of the barrel of a riAe or handgun..
   c. International Hunter EduC:ltion Association
                                                                               b. always expressed in hundreddu of an inch.
   d. U.S. Fish & Wildlife Service                                             c. used to describe the size of a riRe bore and rhe size of
4. Name three bd1aviors of a responsible hunrer.                                  ruruidges designed fur different bores.
                                                                               d. rul of the above.
    i. - - - - - - - - - - - - - - - - - - - -
    ii.
    iii.- - - - - - - - -- - - - - - - - - - -
        ____________________                 _                             13. Ust the most common shotgun chokes.

Chapter 2                                                                      L - -----------------------------------
                                                                               ii. ___________________
                                                                               iii. ---- - - - - - -- - - - - - - - - - -
                                                                                                                        _
l. The three basic parts of a modern Arearm a~------
   a. caruidge, stock. and barrel.                                             iv. - - - - -- - - - - - - - - - -- - - - - - -
   b. action, stock, and barrel.                                           14.Steel shot is __,......,.....,....
   c. stock, trigger, and action.                                              a. lighter than lead shot, reducing velocity and distance.
   d. barrel, chamber, and munle.                                             b. harder th:m lead, keeping the ~nem righter.
2. Label me indicated para of a boh-acrion riAc:                              c. non-toxic. unlike lead shor, which can be roxie co waterfowl
                                       ii.                                    d. all of the above.
                                        -....;;;...                        15. Knowing your firearm's range is critical-it allows you ro __.
                                                                              a. determine whether or not you·~ able to make a dean kill.
                                                                               b. make accurace shots at any distance as long as they are within
                                                                                  your firearm's range.
                                                                               c. know ar what distances your firearm could cause injury.
                                                      iv, - - - -- - - -       d. both a. and c.
                                                                           16. Why is it important to keep shotlihdls St"parared by size?
3. The component in ammunition that ignites the gunpowder
                                                                               a. Once mixed, it is impossible ro separate them accurardy.
   when srruck by the firing pin is the------                                  b. A smaller gauge shotshdl can slip past the chamber of a larger
4. The action of a firearm is made up of parts that----·                          gauge gun and result in serious personal injury.
   a. block th~ uigger or h:unmer to prevent acddenml firing.                  c. A i2-gauge shot3hell an be chambered into :1 20-gauge
   b. hold ammunition before it's loaded into the chamber.                        shorgun and ~ult in serious personal injury.
   c. load, unload, s~. and eject the cmridgc or shorshelL                     d. None of the above.
   d. serve as the handle of the fiream1.
                                                                            l7.Fireamts should be sro~ -------""" in a------
5. You should usc ot1ly ammun ition rhar exactly marches the                   Location, t~nd separate from - - - - - - - -
   caliber or gauge specifications marked on the              of           Chapter 3
   your llrca.rm.
                                                                            I . Good marksmanship is----·
6. Label the indicated parts of riAe and shotgun ammunition:
                                                                               a. being able to hit your target ar lcaSI 50% of the time.
                 i.                                                            b. correctly marking your target.
                                                                               c. being a good sport if you miss your arget.




                                             31
                 ii.                                                           d. hitting your target accurately and consistently.
                 ilL                                                       2. Sight alignment i s - - - - - - - - - - - - - - -- - -

                 iv.
                                                           shotsheR
     castridge
                       Couvr Qhl e 2017 Kall\orn 'Y Enterprl::.es llt: <!O<l hs d VISIOfl~ i!Fld POrtM'"· www katkomev com




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3. To help you steady the rille when you're ready to shoot, draw a        6. The most effective place ro shoot an animal is the vir.U organs,
   deep breath a n d - - - - - - - - - -- - -- -·                            which are rhe                    and - - - - - -
4. The proper technique for pulling the trigger when firing a rifle       7. A __ shor is the preferred shot for larger game animals, such
   is to _ _ _.                                                              as deer, dk, and bear.
   a. pull the trigger quickly,     c. jerk the trigger.                     a. broadside             c. head-on
      moving only your finger       d. snap the trigger.                     b. rcar-<nd              d. quartering-toward
   b. squcczc the trigger slowly.                                         8. When approaching a down•-d dc:-er or other large animal, you
5. Of the four mndard rifle Aring positions, the steadiest is the              should-,..-~
   --------------position.                                                     a. approach &om rhe fronr and make noise ro scanlc rhe
6. All handguns should be fu-cd ar _ _ _ _ _ _ length.                          animal.
                                                                             b. pause above and behind the animal's head and wateh the
7. lf you arc hunting srruill, fast, close birds, the best choke                chest cavity for any movement.
   sel=ion would be                      or                choke.            c. approach from the front if the animal's eyes an: dosed.
8. When patTerning a shotgun, the goal is ro produce a panem                 d. any of the above arc safe me~hods for approoching downal
    of pelletS with even _ _ and a sufficient percentage of the                 animals.
    _ _ within a 30-i.nch cirde.                                          9. Once you are su.re your quarry is dead. you should immediately
9. Which shorgun·shoocing redmique is best for a beginning                   _ _ _ __ it and then begin field dres.~in&-
    hunrer and is performed by pointing ar a moving target, and           10. _ _ would 110tcontrlbute to meat spoiling.
    rhen moving pn.~t It and Aring?                                           a. Cold               c. Moisture
    a. snap-shooting                      c. susrni ned lead                  b. Dirt               d. Heat
    b. ~wing-through                      d. parrerning
                                                                          Chapter 5
I O.A common error when hunting birds with a shotgun is~
    a. rapping the trigger anJ nor squeezing ir slowly.                   L Label rhe indicated pans of 3 muzzlelo:tder:
    b. bringing the stock all the way up to rhe check wirhour
       lowering rhe head.
    c. 10\verlng rhc head and cheek co the stock of the shorgun.
    d. F.Uiing to align rhc sighrs on rhe rarget properly and rhen cake
                                                                                                             iii. _ _ _ _ _ __
       a deep breath.
Chapter 4                                                                                  "t'; c•lt.- iv. _ _ _ __
I , It is critical that you know about rhe game you ai'C! hunting
    because _ _ _.
   a. only one sex of rhc game you're hun ring may be legal.              2.                             is the only rypc of powder mat should
   b. thue may be protcctal species in the wne area thar you neal            be usaf in munldoaders.
      ro avoid shooting.                                                  3. An unsafe practice when using a munleloader is _ _ __,
   c. it will inaose your chance of success.                                 a. loading directly from a horn. flask, or Other oonrnincr.
   d. aU of the above.                                                       b. wearing shooting glasses and ear prormion when shooting.
2 Usr the four basic characreristics used for animal idenriflc:ation.        c. waiting unril you're ready ro lire before you prime or cap a
                                                                                muzzlcloader.
    i. - - - - - - - - - - - - - - - - - - -
    ii. -                                                                    d. not smoking while shooting or looding.
    iii. _-
          _-_-
             _-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_
                                                                          4. How many charges should you load in a muvJeloader at a rime?
   iv. - - - - - - - - - - - - - - - - - - -                                 a. one chal'!l"       c three charges
3. Unli~ still hunting, stalking involves---·                                b. [WO charges        d. four charges
   a. following signs left by rl1c animal.                                5. Name the three common bow types.
   b. spending at least 10 times longer being srill and observing
       than walking.                                                           i. -------------------------------------
   c. using a grune call.                                                      ii. ____
                                                                               iii. - --_
                                                                                        --_-_-_-_-_-_-_-_-_
                                                                                                          -_-_-_-- --
                                                                                                                  __  _
   d. using do~ ro locnte the game.
                                                                          6. Label rhe indicatal pans of an arrow:
4.                         is a hunring technique rhat involves a
   group of hunters who arc spread out and move ro push the                                                     ii. - - - - - - - -
   game toward other bunters waiting at the end of the cover.
5. A true sportSman nor only srrives to bring home rlle game he or
   she is seeking but .Usa srrives ro __ the quarry.
   a.  nrc as soon as possible on
   b. cripple
                                                                                                             iv. _ _ _ _ _ __        7
   c. inflict the minimal amounr of suffering on                          7. ,....-------arrowheads are used primarily for big g;une
   d. none of the abo~                                                       hunting.


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8.                               is the process of placing me :urow        11._____ should be worn at all times while climbing a rrcc and
   shaft on the bow's a.rrow rest and pulling the arrow back until             when un a tree stand.
   the string snaps into the slot.                                             a. Oimbing boon                      c. A safety lurncss
9. A good safety rule to follow when shooting a bow i.s _ _•                   b. Thick ourcf'WC2r                  d. C1mouAage ourerwc:u
   a. alW2.)'$ carry arrows in the nocked position when hunting.           12. To get your lirc:arm into an eleva red stand s:~fdy, -----·
   b. usc: C111cked arrows only for target practice.                           a. climb imo the srnnd using the cradle carry.
   c. rd= an arrow only whc:n d1c: path to the target and beyond               b. climb into tb~ sr:u1d and have your companion carefully ross
      is clear.                                                                   your firearm up to you.
   d. dry fire a bow as a srrcngthening curcisc.                               c. climb into the srand using the sling Cltry.
Chapter 6                                                                      d. haul up the unloaded firearm 3Mer you have secured yourself
                                                                                  in the scmd.
l. To minimize the:: risk of a fln:arm incident in the home, you
   should nn<u _ ,                                                         13. When hunring from 3 boat. ir is best co always wear a~
   a. poim the muule in a safe d.itection.                                     a. pe.rsonal Rotation deviec.        c. red jacket.
   b. keep your finger off the trigger when handling the fire:um.              b. camouflage jackel.                d. safery harness.
   c. store the firearm and ammunition together.                           t4.If ynu 1':111 into cold water while hunting fmm a boar, you
   d. check that rhe chamber and the magazine arc empty.                       should try to                 the boac.
2. Name the four main ctuscs of hunting incidents.                         Chapter 1
     i. -------------------------------------                              I. Which of these was not a reason for establishing hunting laws?
     ii. ------------------------------------
     iii. ____________________________________                                a. to limit hunting methods and cquipmetu
                                                                              b. to limit the profit~ of sporting good.~ mnnufucrurer5
   iv, -------------------------------------                                  c. to 5Ct rules on how huntc~ r:tkc gnme
3. list the fOur primary rule.~ of firearm s:tfcty.                           d. to limit harvesting and avoid hunting during nc~ring and
                                                                                  mating seasons
     i. -------------------------------------
     ii. ------------------------------------
     iii. ____________________________                                     2. According to Aldo Leopold, the "fitrher of wildlife mana~
                                                                              mcm," ethical behavior is----·
    iv. --------------------------------                                      a. killing game only for food.
4. lf rh= hunters are ,wJking side by side, rhe hunter in rhe center          b. harvesting as much garne as the law 31lows.
    should keep the gun pointed                      or---~                   c. doing the right thing when oo one else is warc:hing---c:"1:n
5. If Uu-ce bunter.; are walking in single file, it is ac=prnble for the          when doing the wrong thing is 1~.
                                                                              d. not killing any wildlife bur preserving it for rururc gcnaa-
    hunter in the middle ro use the -----·
    a. cradle carry.                     c. shoulder carry.                       tions.
    b. dbow or side carry.               d. rrail carry.                   3. A responsible and ethical hunter would not _ _ _.
6. [f crossing a fence while hunting :tlone, you should ___.                  a. waste meat and us:~ble pans of the: game harvested.
    a. cross the fence with the gun held under your arm.                      b. Strive for a quk:k. dClJl k.iU
    b. place the gun on the other side of the fenec with the muzzle           c. leave the land better than he or she found it.
        pointed away from you. and rhcn cross.                                d. abide by game bws and rcgularions.
    c. set the gun down, cross, and rhen pull the muzzle ro you.           4. Responsible hunrcrs _ __
    d. any of the above.                                                      a. use land without asking pennission from the landowner.
7. To load or unload a firearm safely, you should always---·                  b. keep firearms our of sight when not hunting.
    a. pur the safety on.                                                     c. draw attention ro thcrnscl~ by wearing bloody or dirty
    b. dry fire the flrcarrn before loading :u1d after unloading.                 hunting clothes when ic's nor n«essary.
    c. point the muzzle in a safe di=tion.                                     d. unnecessarily harnss or frighten livestock.
    d. both a. and c.                                                      S. There are live distinct stages of developmenr that mosr htmrers
8. ___ is not a safe way ro transport a firearm .                              will experience. The most responsible and ethic:<~! is the
    a. Unloaded                          c. In a gun case                      ----------------- stage.
     b, With the acdon opt:n             d. Loaded :u1d in a guu           6. In the __, suecc:ss is determined by bagging the limit, which
                                            rack in the rc-Jr window           am cnusc hunters to take unsafe ~hots.
9. Hunrcrs should be spaced                           yards apart, and         a. shooting stage                    c. trophy stage
     each should have a rone-of-flrc of ___ degree. in front.                  b. limiting-out stage                d. sportsman stagt:
 IO.Consuming alcohol before or during a hunt docs not _ _.                7. To bring t'l:$pcct to the sport of hunting. hunrcr.; cnn _ ,
    a. impair your coordination.         c. affect your judgmc!llt.            a. transport bagged animals on the hood or roof of their auto-
     b. Increase your chance of          d. enhanec your ch:u1ce of                mobiles.
        a hunting incident.                  a successful hunr.                b. slurc graphic accounts md photographs of rhcir hunting
                                                                                  experiences with non·hunrc:rs.
                                                                               c. support Otg:uliutions dediCited ro improving habitllt and
                                                                                   management elforts.
                                                                               d. consume alcohol and loudly proclaim thdr hunting prowess.




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Chapter 8                                                                   Chapter 9
1. There are four ~n:a> to :oddn:ss wh''ll preparing for a hunting          I. Wtldlife conscrvarion ensum that _ _ _.
   trip: be re:~dy, know your loc:~rion, pr~pare for s:uery. and               a hunting seasons established by Kublai Khan will continue.
                                                                               b. no animals are ever harvested.
2. __ would nor be 7-n esscmial pan of :a hunting phn that you                 c. .urural resources can be drawn on despite unwise usc.
   would leave with a family member or friend.                                 d. rene>v.~ble reso= can replenish themselves inddinitdy.
   a The number of gam~ you plan to harve<ir                                2. Wildlife preservation _ _ _.
   b. Where and with whom you inrcnd ro hum                                    a. allows for the consumptive usc of natural resources.
   c. Specific dim:tions on the rour~ to your destination                      b. is a Biblical rule for saving natural resources.
   d. When you expect to rerurn                                                c. saves natural resources bur with no consumpri~ usc of them.
3. Wh:u color is the safest choice for do[hing?                                d. allows hunting of endangered specie<.
   a. bright ted                     c fluorcsa:nt orange                   3. A babitar for wildlife must include--:---~'
   b. humer green                    cL camoulbge                              a. space:, arrangem~nr, food, cover, and warcr.
4. If dressing for cold weather conditions, you should---·                     b. brush and rocks, precbrors, water, and space.
   a. wc:lll' scvcral lnyers of clothing insr<':ld of one hcavy aniclc of      c space, vegetation, food, and reSting and breeding places.
       clothing.                                                               d. cover, predators, large ar<:a, arrangement, and food.
   b. wear conan bttausc lr Qn provide wnrmth even when wcr.                4. Tbe "carrying capacity" ofa wi ldlife area is rhc _ _ _ __
   c. Wl:'.l.rwool.
   d. both a. and c.                                                        5. List four fuctors that cnn limit wildlife populations.
5. When laid on a map, a corn pass needle points t o - - -·
                                                                               i. -----------------------------------
   a. tltc direction you're heading. c. magnetic north.                        ii. - -- - - - - - - - - - - - - - - - -
   b. tme nonh.                      d. conrour lines.                         iii. ___________________               _
                                                                               iv. _ _ _ __ _ _ _ _ _ _ _ _ _ _ __ __
6. l.isr the five primary requirements for survival.
   i.                                  iv. _ _ __ _ _ __                    6. Hunting is an d'fecrivc wildlife conservnrion tool bttause ~
   ii _ _ _ _ _ _ _ __
   iii. _ _ _ _ _ _ _ __                 "·--------------                      a, funding !Tom hunting licenses helps many game and
                                                                                  non-game sp«ies r«ovcr From dwindling populations.
7. The international emergency signal for distress is _ _ _.                   b. hunrers play an Important role by supplying wildlife
   a. three fires evenly spaced.        c. thrtt blasts of a whisrle.             managers with needed information from the fidd.
   b. three shors.                      d. any of the above.                   c. hunting contributes to threatened ot endangered wildlife.
                                                                               d. both a. and b.
8. Lisr four of th~ eight rules of survival that every hunrcr should
   follow.                                                                  7. By continuously monitoring the birth rare and death rate of
                                                                               v.arious sp«ies and the condition of their habirar, wUdllfe
   i. - - - - - - - - - - - - - - - - - -- - - -                               nwtagers - - - - ,
   ii. -
   iii.  --
        __ _-_-_- _-_- _-_- _-_-_- _-_- _-
                                         _-_-_-_                               a. know how to set hunting rrgularions and can dcrenninc if
   w. ________________________________                                            other management practices are needed to conserve wildlife
                                                                                  species.
9. Hypothermia e~n be prevemed by---~                                          b. know when ro ignore hunting regulations they~~ ea.rlier.
   a staying dry.               c. exposing yourself ro the                    c. Qn obtain dWI to eliminate wildlife species.
   b. dressing pro~ny.             wind to dry our if wer,                     d. both b. and c.
                                d. both a and b.
                                                                            8. Trapping and rdocating animals is an example of the __
10. Heat exhaustion can be prevenred by--- - - - -                             wildlife management practice.
   _ _ _ __ _ _ _ warcr.
                                                                               a. hunting
II. Bleeding should be controlled by applying __ to the wound.                 b. aniflcial stocking
   a. butter                                c. direcr pressure                 c. serting bag limii:S and legal metllods for taking wUdlife
    b. fresh air                            d. cold water                      d. habirnr improvement
12. What should you do if a hunring companion breaks a leg and              9. Some species arc protected by law fmm being humcd becau.re
    no mcdic<.tl help is n:-.tdi ly av:oilabl~?
   a. Try to straighten rhc li mb and put a splinr on ir.                      a. they are predators fur a pesr species.
    b. Splim the limb the way you found It without trying to                   b. they are migrating.
       smlglucn it.                                                            c. their habirat is gone.
    c. Leave tile l~g eK.poscd to the air to reduce the swelling.              d. their numbers arc small.
    d. Place a dlick p~d around ir withour splinting it.                    IO.fr i~ critical that hunrer.. :uc able to identify wildlife corn:cdy so
                                                                               that they don't misrakenly --:----'
                                                                               a. harvesr illegal game animals or oon-g;tme animals.
                                                                               b. confuse horns with antlers.
                                                                               c. confuse cloven hooves with cud chewers.
                                                                               d. confuse me•u-cating animals "ith those th~t eat mr:at as well
                                                                                   as planrs.
                    C opyrtqttl f;l20J 7 t<al'-<mv•y Enterprtses. LLC and ot,; <lov•Sl~ con l par111ers    lh~\ ,1\bi~Oilo<>Y   r,;orn




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Regulations and                                                             a person about to enter the land that the use of the land is so
                                                                            restricted.

Information Summary                                                      351. Forked-Hom Buck, Anderless, and Either-Sex Deer Defined.
                                                                         (a) Forked-Horn Buck Defined. For the purpose of these regulations
                                                                             a forked-horn buck is defined as a male deer having a branched
Note: The following are abbreviated laws or regulations. For                 antler on either side with the branch in the upper two-thirds
complete text go tm https:l/www.wildlife.ca.gov/Regulalions.                 of the antler. Eyeguards or other bony projections on the lower
                                                                             one-third of the antler shall not be considered as points or
Shooting Hours                                                               branches.
310. Shooting Hours on Resident Small Game Mammals.                      (b) Antlerless Deer Defined. For the purpose of these regulations,
The shooting hours for all resident small game mammals shall be              antlerless deer ate defmed as female deer, fuwns of either sex other
one-half hour before sunrise to one-half hour after sunset.                  than spotted fawns, and male deer with an unbranched antler on
                                                                             one or both sides that is not more than three inches in length.
310.5 Shooting Hours for Upland Game Birds.                              (c) Either-Sex Deer Defined. For the purpose of these regulations,
The shooting hours for all upland game birds, except for pheasants           either-sex deer are defined as antlerless deer as described in
and the spring wild turkey season, shall be from one-half hour               Section 35l(b), or legal bucks that have two or more points in
before sunrise to sunset. The shooting hours for pheasants shall be          the upper two-thirds of either antler. Spike bucks may not be
from 8:00 a.m. to sunset. The shooting hours for the spring wild             taken.
turkey season shall be from one-half hour before sunrise to 5:00
p.m.
                                                                         353. Methods Authorized for Taking Big Game,
352. Shooting Hours on Big Game.                                         (a) It shall be unlawful to rake or attempt to take big game in
Hunting and shooting hours for big game, including but not                   violation of this section or Section 250.1. The take or attempted
limited to deer, antelope, elk, beat, and wild pig, shall be from            take of any big game (as defmed by Section 350 of these regu-
one-half hour before sunrise to one-half hour after sunset.                  lations) with a firearm shall be in accordance with the use of
                                                                             nonlead projectiles and ammunition pursuant to Section 250.1 of
506. Shooting Hours (Migratory Game Birds).                                  these regulations.
The shooting hours for migratory game birds, including mourning          (b) Definition. For purposes of this section, a projectile is any bullet,
doves, white-winged doves, band-tailed pigeons, American coots,              ball, sabot, slug, buckshot, or other device which is expelled from
common moorhens, common snipe (jacksnipe), and waterfowl                     a firearm through a barrel by force. The following definitions shall
for all of California shall be from one-half hour before sunrise to          apply:
sunset.                                                                      (1) A softnose or expanding projectile is a bullet designed to
                                                                                  increase from its original diameter, commonly referred to as
Exception: In areas open to hunting on, over, or adjacent to the                  "mushrooming," and retain a significant patt of its original
waters of Morro Bay, San Luis Obispo County, the shooting time                   weight upon impact with, or when passing through, the
shall be from 7:00 a.m. to sunset.                                                tissues of an animal.
                                                                             (2) Projectiles commonly referred to as "frangible" bullets,
General Information                                                               designed to disintegrate upon impact with, or when passing
18. "Bag limit'' means the maximum limit, in number or amount,                    through, the tissues of an animal are not softnose or
of birds, mammals, fish, reptiles, or amphibians that may lawfully be             expanding projectiles.
taken by any one person during a specified period of time.               (c) Except for the provisions of the following subsections (d)
                                                                             through (j), big game may only be taken by rifles using centerfire
19. "Possession limit'' means the maximum, in number or amount,              cartridges with softnose or expanding projectiles; bow and arrow
of birds, mammals, fish, reptiles, or amphibians that may be lawfully        (see Section 354 of these regulations for archery equipment regu-
possessed by one person.                                                     lations); or wheellock, matchlock, flintlock, or percussion type,
                                                                             including "in-line'' muzzleloading rifles using black powder or
2016. It is unlawful to enter land for the purpose of discharging            equivalent black powder substitute, including pellets, with a single
a firearm or taking or destroying a mammal or bird, including                projectile loaded from the muzzle and at least .40 caliber in desig-
waterfowl, on that land without having first obtained written                nation.
permission from the owner, the owner's agent, or the person in           (d) Shotguns capable of holding not more than three shells firing
lawful possession of that land, if either of the following is true:          single slugs may be used for the taking of deer, beat, and wild
(a) The land belongs to or is occupied by another person and is              pigs. In areas where the discharge of rifles or shotguns with slugs
    either under cultivation or enclosed by a fence.                         is prohibited by county ordinance, shotguns capable of holding
(b) There ate signs of any size and wording forbidding trespass              not more than three shells firing size 0 or 00 buckshot may be
    or hunting or both displayed along all exterior boundaries of            used for the taking of deer only.
    the land, at intervals not less than three to the mile, and at all   (e) Pistols and revolvers using centerfire cartridges with softnose or
    roads and trails entering the land, including land temporarily           expanding projectiles may be used to take deer, bear, and wild
    inundated by water flowing outside the established banks of              pigs.
    a river, stream, slough, or other waterway, which fairly advise
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(f) Pistols and revolvers with minimum barrel lengths of 4 inches,              substance which would tranquilize or poison any animal may be
    using centerflfe cartridges with sofmose or expanding projectiles,          used. No arrows or crossbow bolt without flu-flu fletching may be
    may be used to take elk and bighorn sheep.                                  used for the take of pheasants and migratory game birds, except
(g) Except as provided in subsection 354Q) of these regulations,                for provisions of section 507(a) (2).
    crossbows may be used to take deer and wild pigs only during the         (e) No arrow or crossbow bolt may be released from a bow or
    regular seasons.                                                             crossbow upon or across any highway, road, or other way open to
(h) Under the provisions of a muzzleloading rifle-only tag, hunters              vehicular traffic.
    may only possess muzzleloading rifles as described in subsec-            (f) No bow or crossbow may be used which will not cast a legal
    tion (c) equipped with open or "peep" type sights only except as             hunting arrow, except flu-flu arrows, a horizontal distance of 130
    described in subsection (1).                                                 yards.
(i) Under the provisions of a muzzleloading rifle/archery tag, hunters       (g) Except as described in subsection 354Q), crossbows may not be
    may only possess muzzleloading rifles with sights as described in           used to take game birds and game mammals during archery
    subsection (h); archery equipment as described in Section 354 of            seasons.
    these regulations; or both. For purposes of this subsection, archery     (h) Except as provided in subsection 353(g) of these regulations and
    equipment does not include crossbows, except as provided in                 in Section 4370 of the Fish and Game Code, archers may not
    subsection 354Q) of these regulations.                                      possess a firearm while hunting in the field during any archery
(j) Except as otherwise provided, while taking or attempting to take            season, or while hunting during a general season under the provi-
    big game under the provisions of this section or Section 354 of             sions of an archery-only tag.
    these regulations, it is unlawful to use any device or devices which:    (i) No person may nock or fit the notch in the end of an arrow to a
    1) throw, cast, or project an artificial light or electronically alter       bowstring or crossbow string in a ready-to-fire position while in or
    or intensifY a light source for the purpose of visibly enhancing             on any vehicle.
    an animal; or 2) throw, cast, or project an artificial light or
    electronically alter or intensifY a light source for the purpose of
    providing a visible point of aim directly on an animal. Devices          Deer Tag Laws and Regulations
    commonly referred to as "sniperscopes," night vision scopes or
                                                                             4336. (a) The person to whom a deer tag has been issued shall carry
    binoculars, or those utilizing infrared, heat-sensing, or other
                                                                             the tag while hunting deer. Upon the killing of any deer, that person
    non-visible spectrum light technology used for the purpose of
                                                                             shall immediately fill out the tag completely, legibly; and perma-
    visibly enhancing an animal or providing a visible point of aim
                                                                             nently, and cut out or punch out and completely remove notches or
    directly on an animal, are prohibited and may not be possessed
                                                                             punch holes for the month and date of the kill. The deer tag shall
    while talting or attempting to take big game. Devices commonly
                                                                             be immediately attached to the antlers of antlered deer or to the ear
     referred to as laser rangefinders, "red-dot" scopes with self-
                                                                             of any other deer and kept attached during the open season and
    illuminating reticles, and fiberoptic sights with self-illuminating
                                                                             for 15 days thereafter. The holder of the deer tag shall immediately,
    sight or pins which do not throw, cast, or project a visible light
                                                                             upon harvesting a deer, notifY the department in a manner specified
    onto an animal are permitted.
                                                                             by the commission.
354. Archery Equipment and Crossbow Regulations.                             (b) Except as otherwise provided by this code or regulation adopted
                                                                             purnuant to this code, it is unlawful to possess any untagged deer.
(a) Bow, as used in these regulations, means any device consisting of a
    flexible material having a string connecting its two ends and used       4340. (a) Any pernon who is convicted of a violation of any
    to propel an arrow held in a firing position by hand only. Bow           provision of this code, or of any rule, regulation, or order made or
    includes long bow, recurve, or compound bow.                             adopted under this code, relating to deer, shall forfeit his or her deer
(b) Crossbow, as used in these regulations, means any device                 tags, and no new deer tags shall be issued to that person during the
    consisting of a bow or cured latex band or other flexible material       then-current license year fur hunting licenses.
    (commonly referred to as a linear bow) afflxed to a stock, or any        (b) No person described in subdivision (a) may apply for deer tags
    bow that utilizes any device attached directly or indirectly to the      for the following license year.
    bow fOr the purpose of keeping a crossbow bolt, an arrow, or the
    string in a firing position. Except as provided in subsection 354Q),     4341. Any pernon legally killing a deer in this state shall have the tag
    a crossbow is not archery equipment and cannot be used during            countersigned by a person employed in the department, a person
    the archery deer season.                                                 designated fur this purpose by the commission, or by a notary public,
                                                                             postmaster, postmistress, peace officer, or an officer authorized
(c) For the taking of big game, hunting arrows and crossbow bolts
                                                                             to administer oaths, before transporting such deer, except for the
    with a broad head type blade which will not pass through a hole
                                                                             purpose of taking it to the nearest person authorized to countersign
    seven-eighths of an inch in diameter shall be used. Mechanical/
                                                                             the tag, on the route being followed from the point where the deer is
    retractable broad heads shall be measured in the open position.
                                                                             taken.
    For the taking of migratory game birds, resident small game,
    furbearern, and nongame mammals and birds, any arrow or          708.5. Deer Tagging and Reporting Requirements.
    crossbow bolt may be used except as prohibited by subsection     (a) Upon the killing of any deer the tag holder shall immedi-
    (d) below. Notwithstanding the general prohibition of the use of     ately fill out all portions of the tag including the report card
    lights in Fish and Game Code section 2005, arrows or crossbow        completely, legibly; and permanently, and cut out or punch out
    bolts with lighted nocks that do not emit a directional beam of      and completely remove notches or punch holes for the month
    light may be used.                                                   and date of the kill. The deer license tag shall be attached to the
(d) No arrows or crossbow bolt with an explosive head or with any        antlers of an antlered deer or to the ear of any other deer and kept
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                                                                                       Exhibit 2
                                                                                         0118
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    attached during the open season and for 15 days thereafter. Except    • Fail to send a complete written report to the Department
    as otherwise provided, possession of any untagged deer shall be a       within 48 hours after killing or wounding while hunting, any
    violation. (Refer to Fish and Game Code, Section 4336).                 human being or domestic animal belonging to another, or
                                                                            after witnessing such killing or wounding. FGC 12151.5.
It is unlawful to:                                                        • Use of a shotgun larger than 10 gauge for the taking of
    • Fail to exhibit on the demand of a Wildlife Officer, all              any game bird or game mammal, or a shotgun capable of
      licenses, tags, fish, or wildlife taken or otherwise dealt with       holding more than three shells in the magazine and chamber
      under the Fish and Game Code, and any device or apparatus             combined. FGC 2010; CCR Tl4-311 and 353(b).
      designed to be, and capable of being, used to take fish or          • Possess a short-barreled shotgun (barrel less than 18 inches),
      wildlife. FGC 2012.                                                   or a short-barreled rifle (barrel less than 16 inches). PC 33215.
    • Take game birds, game mammals, or furbearing mammals                • Possess in any State Game Refuge any bird or mammal or
      except as permitted by regulations. CCR T14-250.                      part thereof, or any weapon capable of taking any bird or
    • Hunt big game without a valid hunting license and rag. FGC            marnrnal. FGC 10500. However, possession of firearms or
      1054.2.                                                               bows and arrows by persons traveling through game refuges on
    • Hunt with a crossbow during archery season (except with a             a public highway or other public thoroughfare or right of way
      Disabled Archer Permit). CCR Tl4-354(g).                              is permitted when the firearms are taken apart or encased and
    • Possess a firearm while hunting during archery season or while        unloaded, and the bows are unstrung. FGC 10506. (National
      hunting during the general season with an archery only tag.           Parks and Monuments have special regulations regarding the
      CCR Tl4-354(h).                                                       possession of weapons, game, and the running of hunting
    • Take spike buck. CCR T14-351(c).                                      dogs. Check with federal officials before entering these areas.)
    • Pursue, drive, herd, or take any bird or mammal from any            • Hunt any game bird or mammal without having the required
      type of motor-driven air or land vehicles, motorboat, airboat,        licenses, tags, and/ or stamps in possession. FGC 1054.2.
      sailboat, or snowmobile, except when the motor is off and/          • Transfer, use, possess, or alter any license, tag, stamp, permit,
      or the sails furled and it is drifting, beached, moored, resting      application, or reservation. FGC 1052.
      at anchor, or is being propelled by paddle, oar, or pole. CCR       • Damage another's property or injure livestock while hunting.
      T14-251.                                                              FGC 2004.
    • Knowingly feed big game mammals. CCR Tl4-251.3.                     • Sell or barter game taken under the authority of a hunting
    • Take game birds and mammals within 400 yards of any                   license. FGC 3039.
      baited area. This does not apply to the taking of game birds        • Possess a loaded rifle or shotgun in any vehicle or conveyance
      and mammals on or over standing crops, croplands, or grains           or its attachments which is standing on or along or is being
      found scattered solely as the result of normal agricultural           driven on or along any public highway or other way open to
      operations or procedures. CCR T14-257.5.                              the public.
    • Take bears within 400 yards of any garbage dump or bait.            • A rifle or shotgun shall be deemed to be loaded for the
      CCR Tl4-365(e).                                                       purposes of this section when there is an unexpended cartridge
    • Take more than rwo deer per license year. CCR T14-708.l.(a)           or shell in the firing chamber but not when the only cartridges
       (1).                                                                 or shells are in the magazine. FGC 2006
    • Intentionally discharge a firearm or release an arrow or            • The provisions of this section shall not apply to peace officers
      crossbow bolt from a bow or crossbow upon or across any               or members of the armed forces of this state or the United
      highway, road, or other way open to vehicular traffic. CCR            States, while on duty or going to or returning from duty. FGC
      Tl4-354(e), FGC 3004(b).                                              2006.
    • Nock or fit the notch in the end of an arrow to a bowstring or
      crossbow string in a ready-to-fire position while in or on any
      vehicle. CCR Tl4-354(i).                                            LEAD EXPOSURE WARNING
    • Hunt with a bow or crossbow that will not cast a legal
      hunting arrow, except flu-flu arrows, a horizontal distance of         Discharging firearms in poorly ventilated areas, cleaning
       130 yards. CCR Tl4-354(f).                                        firearms, or handling ammunition may result in exposure to
    • Hunt big game from one-half hour after sunset to one-half          lead, a substance known by the State of California to cause
      hour before sunrise. CCR T14-352.                                  birth defects, reproductive harm, and other serious physical
    • Use dogs for pursuit/take, or for dog training, during the         injury. It is important that steps be taken to avoid inhaling
      archery seasons for deer or bear. CCR T14-265(a)(l).               or ingesting lead particles.
    • Use dogs to take bear, bobcat, elk, bighorn sheep, and                 Whether you are shooting, cleaning firearms, or handling
       antelope. CCR Tl4 265 (a)(2).                                     ammunition, make certain there is adequate ventilation at
    • Use an artificial light to assist in taking any game bird or game  all times to reduce the risk of inhalation. Care must also
      marnrnal. FGC 2005(a).                                             be taken to avoid ingestion. Never handle fuod or drink
    • To deposit, permit to pass into, or place where it can pass into   without first washing your hands, and keep food and drink
       the waters of the state, or to abandon, dispose of, or throw      away from the shooting environment. Do not smoke when
      away, within 150 feet of the high water mark of the waters of      exposed to lead. Most importantly, wash your hands thor-
       the state, any cans, bottles, garbage, rubbish, or the viscera or oughly after exposure.
       carcass of any dead mammal, or the carcass of any dead bird.
       FGC 5652.
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                                                                                Exhibit 2
                                                                                  0119
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A                                         Black powder. Granulated powder
                                          made of charcoal, sulfur, and salt
                                          perer.
                                                                                    c
Action . The moving pans of a                                                       Caliber. The diameter of che bore
firearm wltidt loads, fires, and ejecrs   Blaze Orange. Fluorescent orange          usually measured from land ro
a shell or cartridge. Types include       color wltich can easily be seen in the    opposite land.
bolt, lever. pump, break, and semi-       field.
automatic.                                                                          Camou.Oage. Disguise, usually one
                                          Blind. A concealed hunting station        which makes a hunter blend in with
Airgun. A rille or pisrol operated by     in which hunters stand or sit, while      the background.
means of compressed air.                  waiting for game to come within
                                          range.                                    Carnivore. A mear-earing animal.
Ammunition. Any powder, shot,
or bullets used in rifles, pistols, and   Bolt. Movable metal block that seals      Carrying capacity. The number
shotguns.                                 a cartridge into the chamber on
                                                                                    ofanimals the habitat can support
                                          some actions.                             throughout rhe year withour d:trnage
Anders. Bony structures that grow                                                   to the animals or to the habitar.
out of bone pads or lumps on rhe          Bolt bandle. Handle used ro open a
heads of animals in the deer F.unUy.      bolt action.                              Car:ry1ng positions. Safe ways in
Antlers are shed annually.                                                          which to carry a firearm. Positions
                                          Bore. Inside of the firearm barrel        include double hand, cradle carry,
Arrow. Slender shaft, pointed at one      through wltich the projectile travels     elbow carry, shoulder carry, and sling
end and feathered ac the other, for       when ftred.                               carry.
shooting from a bow.
                                          Bow. Device for shooting arrows.          Cartridge. Ammunition used in
Automatic. Firearm whkh loads,            Types include longbow, n:curve, and       modern rifles and handguns; a case
Srcs, and ejccu ammunirion                compound.                                 containing primer, gunpowder, and
continuously with one trigger                                                       a bullet. A cartridge can be either
squeeze. Often confused with semi-        Breech. The rear end of a firearm         rimfue or cenrerftre.
automaric. Machine guns are true          barrel.
automatics.                                                                         Case. The container whidl holds
                                          Broa.dhead. &wr sharp arrowhead           all the ammunition components
                                          used for hunting.                         together.
B                                                                                   Cen terS.re. Ammunition in which
                                          Buck. Male of the lesser deer species,
Bag limit. The maximum number             such as blacktail, and of antelope.       rbe primer is locared in the center of
of birds or mammals which may be                                                    the casing base.
lawfully taken by any one person          Buckshot. A large lead pellet used
during a specified period of time.        for caking big game.                      Chamber. Base of the barrel used ro
                                                                                    hold the cartridge or shotsheU ready
Ballistics. Modern science dealing        Bull. Male of the larger deer species,    for shooting.
with tl1e speed, weight, gravitational    such as elk.
influences, and impact of projectiles.                                              Cltoke. The degree of narrowing
                                          Bullet. A single projectile fired from    at the muzzle end of tlte shorgun
Barrel. A metal tube of a firearm         a handgun or rifle. It is one part of a   barrel. Types include cylinder,
through which a projectile passes.        camidge.                                  improved cylinder, modified, and
                                                                                    full.
Birth rate. The ratio of number of
young born to females of a species ro                                               C1oven-booved. A hoof in two
toral population of that species over                                               parts. Deer and elk are =mplcs of
one year.                                                                           cloven-hooved animals.




                                                                       Exhibit 2
                                                                         0120
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Cock. The hammer on a munle-             Diameter. A line passing through         Evisceration. The removal of the
loader. Also used to refer ro che act    the cenrcr of a circle &om one side      entrails of an animal.
of pulling the hammer back and           to the ocher.
placing a firearm in the ready-co-fire                                            Extinct. No longer in existence;
position.                                Discharge. The act of a firearm          having no living descendant.
                                         being fired or going off.
Cock feather. The fearher or fletch
rhat is used co correctly align ao       Diving ducks. Ducks clm live on
                                         lakes and deep ponds and dive for
                                                                                  F
arrow on a bow.
                                         food. These ducks run on the surface     FPFFg. Extra Ane grain priming
Compass. Jnscrumenc for showing          of the warer ro take off.                powder, used in the flash pan on
direcrion, especially one consisting of                                           muzzleloaders.
a magnetic needle swinging freely on Doe. Female of rhe blackcail, mule
a pivot and pointing to the magnetic deer, and antelope species.                  Fg. Coarse powder used in
north.                                                                            muulcloaders
                                        Dominant eye. The eye that sends
Conservation. The wise use of           better information co lhe brain. Also     Field dressing. Removing the
natural resources, without wasting      c.1Jied master eye.                       entrails and skin from game to
them.                                                                             prevent its mear from spoiling.
                                        Dr:aw. To pull back the bowstring of
Core temperature. The temperature a bow.                                          Firearm. Mechanical device that
of the human body's trunklvicaJ area.                                             uses pressure from a burning powder
                                        Dmw length. T he length of an             co fo rce a projectile through and our
Cow. Female of the elk species of       archer's arms determines draw length      of a metal rube.
deer.                                   and hence the length of his or her
                                        arrows.                                   Firing pin. A pin that scrikes the
CPR. Cardiopulmonary resuscita-                                                   primer of rhe cartridge, causing
tion. The arc of restarting a person's  Draw weight. The weight that is           ignition.
heart and/or breaching once stopped. required to pull baek a given bow.
                                                                                  Flash pan. A small pan attached co
Crosshairs. Crossed lines mounted                                                 the side of a muttleloader adjacent
in the optical system of a telescopic    E                                        to the flash hole, which leads ro
gun sight.                                                                        the main charge within the muzzle-
                                         Edge effect. Habitat conditions of       loader.
Cylinde.c. Parr of a revolver in which   an area created when two rypes of
cartridges are held.                     habitat are broughr together.            Flask. A container used to carry
                                                                                  black powder.
                                         Elevation. The angular distance of
0                                        the muule of a firearm above the         Fletching. The plastic vanes or
                                         horizontal.                              feathers on an arrow. The fletches
Death rate. The ratio of number of                                                perform the same task as does rifling
deaths in a spc:cics to co tal popula-   Endangered species. Species that         in a fltearm, in chat they spin the
tion of that species over one yc;tr.     face extinction in alJ or a large pan    arrow to achieve greater accuracy.
                                         of its range, and are protected by Jaw
Declination. The difference between      for chis reason.                         Fluorescent orange. See Bl32C
true norrh and magnetic north.                                                    Orange.
                                         Entrails. lnresrines and inner organs.
Dehydration. Condition where the                                                  Flushing. Using noise, movement,
body has lost water con rent, and can    Ethics. Moral principles or values       or dogs to cause game co become
result in dearh.                         that distinguish between right and       nervous and leo~ve cover.
                                         wrong.




                                                                     Exhibit 2
                                                                       0121
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                                                                                                    H yperthermia. A condition in
Forearm, fore end, or forestock.
Front portion of the stock extending             H                                                  which the body core temperature
under the barrel in front of the                                                                    cannot emit enough heat and as
receiver.                                        Habitat. Complete environmental                    such increases ro dangerous levels
                                                 requirements of an animal for                      leading to death.                 '
Fouling. The buildup of residue in               survival: food, water, cover, and
the barrel ofa firearm.                          space.                                             Hypothermia. Condition that
                                                                                                    occurs  when the body loses heat
frizzen. Piece of meral which creates            Half-cock. Certain poinr between                   faster than ir can produce it. This
spark when suuck by the flint on a               having the firearm hammer in                       condition if unchecked will result in
Aindock muuleloader.                             a firing position and in a down                    death.
                                                 position.
Frostbite. Tissue damage caused by
freezing.                                        Hammer. The pan of the action on
                                                 a _handg~ which strikes the fuing
                                                                                                    1
fur bearers. Small mammals which                 pm, causmg the ignition of the
                                                                                                     Ignition. Setting fire to the projec-
are hunred or trapped primarily for              ammunition. Also referred to as a
                                                                                                     tile or powder charge.
their fur (peJrs).                               cock on muzzleloaders.

                                                 Handgun. Short-barreled firearms.
                                                                                                     IDegn1. Against the law.
G                                                Also known as revolvers or pistols.                 Instinctive aiming. T he method
                                                                                                     of simply looking at the rnrget with
Game. Wtldlife that may be hunted                Hangfue. Delay in ignition.
                                                                                                     both eyes open and releasing the
or trapped for sport according ro
                                                 Heat exhaustion. Condition that                     arrow when bow hunting.
legal seasons and Limits.
                                                 occurs when the core body tempera-
                                                                                                     Intoxication. Lmpairmenr caused
                                                 ture increases. The acute form of
~uge.   Term used to designate bore                                                                  by excessive consumption of alcohol
                                                 which is hyperthermia, the opposite
diameter of a shotgun; gauge is the                                                                  and/or drugs.
number oflead balls with diameters               of hypothermia.
equal to the diameter of the bore
                                                 HELP. Hear Escape Lessening
that, when combined, weigh one
pound.
                                                 Posrure. Position used by a lone
                                                 person in rhe wate.r to increase
                                                                                                    J
                                                 survival rime.                                     Jag. Device used on the end of a
GPS. Global Positioning System,                                                                      cleaning rod to hold cloth for the
a system of satellites in Earth orbit                                                                purpose of cleaning the bore on a
                                                 Hen. Female bird.
emirting signals by which receivers                                                                  firearm.
can determine their position.                    Hen feather. 1l1e remaining feathers
                                                 on an arrow ocher than the cock                     Jake. A young male turkey.
Grip. The handle of a handgun.
                                                 ~'either.
Grooves. The spiral cuts in a rifled
bore.
                                                 Horns. Hard, compressed fibrous                     L
                                                 proreit1 (bair) penuanem projection
                                                 thar grows on the head of various                   Lands. The ridges of metal berween
Gunpowde.r:. A chemical mixture                                                                      the grooves in a rifled bore.
that burns very rapidly and converts             hoofed animals. With the exception
roan expanding gas when ignited.                 of the pronghorn, horns are oot
                                                 shed.                                               Lead. A heavy metal used in bullets
O ne of the 6ve componenrs of                                                                        or shot.
ammunition.
                                                 Huddle. Position used by two or
                                                 more people in the water to increase                Lead. (pronounced ked.) The
                                                 survival time by retaining body heat.               distance by which a shotgun shooter
                                                                                                     must aim in front of a moving
                                                                                                     target.

                 \.:Opyrlg! L   4' 17 K.Jiit•)tT••·~ Ecilerp'IS~'>   UC 300 rls QIVr., C•n< a'ld p.art[leb WWN.kel~omcy c::c1n




                                                                                       Exhibit 2
                                                                                         0122
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Legacy. Anything handed down                                                      Poaching. The illegal raking of
from an ancestor.                         N                                       game.
LegaJ. Based upon or authorized by        Nipple. Part of the muzzleloader        Powder hom. Container used to
law.                                      which holds the percussion 01p.         hold black powder.

Limit. The number of game a               Nock. A sloned plastic rip locared      Predation. Acr of predators feeding
huncer is legally allowed to rake         on the rear end of an arrow, which      on prey.
during a season or day, as defined in     arraches the arrow ro the bow String.
the reguJarions.                                                                  Predator. Animal that kills other
                                          Nock point. A device used ro ensure     animals for food.
Load. The amount of gunpowder             that an arrow is attached ro the bow
in the cartridge or shoc:shell rogecher   scring ar tbe san1e point each time     Preservation. Saving natural
with the weight of the bullet or shot     and hence ensures accuracy.             resources, but with no consumptive
charge.                                                                           use of them.

Lock. Early types of ignition systems     0                                       Prey. Animal hunred or killed for
used in firearms, such as matchlock,                                              food by other animals.
wheel lock, flintlock, percussion cap     Omnivore. An animal thar eats both
Lock.                                     plants and meat.                        Primer. Explosive cap used to ignite
                                                                                  the powder when muck with a sharp
                                          Orient. To adjust the map and           blow from the firing pin.
M                                         compass to accommodate for the
                                          difference between the grid north of    Privileges. Exceptional benefits
Magazine. Conwner on a rcpearing          the map and the m~netic north of        which are allowed to individuals
ftrearm which holds ammunition            the compass.                            or groups and can be controlled or
until it is ready co be fed inco the                                              withheld.
chamber; usually rubes or boxes
attached to the receiver.
                                          p                                       Projectile. An object propelled from
                                                                                  a firearm, airgun, or bow.
Mammals. Animals with vertebrae           Parallax. Optical bending of tele-
(spines). Mammals produce live            scopic crosshairs in relation to the    Protected species. Species protected
young. Female mammals feed their          target.                                 by law for any reason.
young with milk &om mammary
glands.                                   Parasite. Unhealthy form of life        Puddle ducks. Ducks which favor
                                          feeding on and in wildlife, such as     shallow ponds and marshes, and
Master eye. See Dominant eye.             ticks, worms, or flukes.                which spring directly inro d1e air
                                                                                  to fly. They feed by dabbling or
Migrate. To move from one region          Panem. Dens icy and SCittering of       ripping.
co another with the change in             shot pellets when fired. Patterns are
seasons.                                  affected by choke.

                                          Percussion cap. Cap placed on
                                                                                  Q
Misfire. Failure to fire.
                                          rbe nipple under the hammer of a        Quiver. Container for arrows.
Muzzle. The end of the barrel             muzzleloader.
through which the projectile exits.
                                          PFD. Personal Flotation Device.
Muzz.leloader. Firearm that is            Used whenever one is in a boat.
loaded through the muzzle inStead         Also known as a life preserver.
of the breech.




                                                                       Exhibit 2
                                                                         0123
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R                                           s                                         Starvation. Lack of food, leading to
                                                                                      death.
Ramrod. Rod used ro push the                Safety. Mechanism that blocks the         Stock. Handle of firearm.
ball and patch down the barrel of a         action to prevent me firearm from
muzzleloader.                               accidental firing.                        S.T.O.P. Acronym usoo for Stop,
                                                                                      Think, Observe, Plan, to remind
Rare species. Species which are             Season. Pan of the year during            one of rhe necessary thought process
small in number and are protected           which game may be legally taken.          once one has determined that one is
by law for this reason.                                                               lost.
                                            Shaft. The long spine of rhc arrow.
Receiver. Metal housing for the                                                       Succession. Natural progression of
working parts of tbe action.                SheU. Container which holds shot          vegetation and wildHfe populations
                                            and other parts of ammunition for         in an area.
Recoil. Real and perceived energy in        shotguns.
a backward direction emitted by a                                                     Surplus game. Numbers of wildlife
firearm when fired. Also referred to        Shot. Balls of metal used co fill a       above those needed for reproducrion
as "kick."                                  shotgun shell.                            of d1e species.
Regulations. Laws or rules by which         ShotsheU. Ammunition usc:d in
conduct is regulared.                       modern shotguns; a case containing
                                            primer, gunpowder1 wad, and a slug        T
Renewable. To make new or as if             or shot.
                                                                                      Target identiScation. Making abso-
new again; bring back into good
                                            Shot pattern. The spread of shot          lurdy sure of the target before firing.
condition.
                                            pellets.
                                                                                      Tarsal gland. Gland on the rear legs
Responsible. Answering for or
                                                                                      of a buck that exudes odor such that
accounting for your actions.                Sight. Device used for aiming,
                                                                                      other deer are aware of the presence
                                            usually by aligning a front and rear
Reticle. The aiming device inside a         sight.                                    of the buck.
rifle or pistol scope (telescopic sighr).
                                            Sighting-in. A process of adjusting       Telescopic sighL Small telescope
                                            a firearm's sightS co hit a target at a   mounted on a firearm.
Revolver. Firearm (generally a
handgun) having a rotating cylinder.        specific range.
                                                                                      Terrain. Ground or a portion of
Rifling. Spiral grooves in the bore         Smoothbore. Firearm without               ground.
of the rifle barrel which cause the         rifling in the bore, usually a shorgun.
                                                                                      Tom. Male of some species, for
projectile ro spin upon firing.
                                            Species. A naturally existing popula-     example, a turkey.
Rights. Powers to which a person            tion of similar organisms that are
                                                                                      Topographic map. Type of map
has a just claim. Unlike a privilege,       given a unique name to distinguish
                                                                                      with grids, showing derails such as
a right cannot be taken away from           them from all other creature.~.
                                                                                      roads, elevation, water sources, and
you.                                                                                  types of vegetation.
                                            Spine. Term used when referring to
Rim6re. Cartridge in wftich the             the stiffness of an arrow,
                                                                                      Trap. Device used for trapping an
primer is in the rim of rbe ammu-
                                            Stamina. Resistance ro fatigue,           animal.
nition casing. Rimfire cartridges
cannot be reloaded.                         illness, hardship; endurance.
                                                                                      Tro~pping.   Catching animals, usually
                                            Stance. The way a person or animal        fur bearers or varmints, in rraps.
                                            stands, specifically referring ro
                                            placement of the feet.




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Tree stand. Elevated platform       Wtldlife. Non-domesticated
mounted in a rree on which a hunrer animals, including mammals, birds,
waits for game to come within       and 6sb, which may be hunted as
range.                              conuoUed by law.

Trigger. Small lever char is pulled or     Wtldlife managemenL Wise use
squeezed co stare the firing process.      and manipulation of renewable
                                           wildlife resources. A 6eld of srudy
Trigger guard. Piece that surrounds        based on scientific fact.
!:he uigger co protecr ir from being
accidencally squeezed or bumped.
                                            z
u                                           Zone-of-fire. The area in which
                                            3 hunter may safely shoot, to be
Unlawful. Against the law.                  agreed upon before beginning 3
                                            hunt.
Upland birds. Chicken-like b irds
with short rounded wings and heavy
bodies, such as grouse, pheasant,
quail, and turkeys.


v
Varmints. Huncable animals
regarded as troublesome.

Velocity. The speed of a projectile.


\'(/
Wad. Paper or plastic unit used
between powder and shoe in a
shocshell.

Warm-blooded. Having warm
blood and a natural constant internal
body temperature. Mammals arc
warm-blooded.

Waterfowl. Water bird or birds,
especially those that swim. Ducks
and geese are examples.

Wattles. Fleshy growths beneath
che head of a male (tom) turkey, on
either side of the neck.




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NOTES




                                            Today's Hunter :A Guide to Hunting Responsibly and Saftly

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                                                                ;fill
                                                 www.wildlife.ca.gov
                                           CALIFORNIANS TURN IN
                                                 POACHERS
                                         AND POLLUTERS BY CALLING,
                                         TOLL FREE, 24 HOURS A DAY -


                                     You may even be eligible for a rewardllll

                            California's secret witness program, CaiTIP,
               is available 24 hours a day, seven days a week. If you witness
   or become aware of a poaching or polluting incident, please call the
 CaiTIP hotline as soon as possible and be prepared to relay the following
                                  information:
                       Location of violation
                             Date/time
                       Number of violators
                       species of fJoachlng
 Vehicle make, color, and license number (Including state of Issue)
    Please state the activity you witnessed, direction of travel, description of
suspect(s), name(s) if known, and firearm description. You may remain anonymous.

  Stay Safe: Do not approach fJoachers or put your life In dangerl
                                                                      IN CIDENT DETAILS




           CALIFORNIANS TURN IN
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                 POACHERS
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              A ND POLLUTERS
                                                             DESCRIPTION OP SUSPICT
               1-888- 334-2258                               AACE
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                                                                                SEX
                                                                                    wtiGHT
                                                             AGE                    H.Aik
      CONFIDENTIAL SECRET W ITNESS PROGRAM                   CLOTHING
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       ANY POACHING OR POLLUTING ACTIVITY
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        as9 soon     as you can after witnessing an offense!
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                                                          Exhibit 2
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Ducks Unllinited                      National Wild Turkey Federation
One Waterfowl Way
Memphis, TN 38 120
I-800-45DUCKS
                                      (NWTF)
                                      P.O. Box 530
                                      Edgefield, SC 29824
                                                                            unter's
www.ducks.org

International Hunter Education
                                      1-800-THE-NWTF
                                      W\vw.nwtf.org
                                                                           Resource
Association-USA (IH EA-USA)           Quail Forever/Phca.sa.ots Forever
800 East 73rd Avenue, Unit 2
Denver, CO 80229
303-430-7233
                                      1783 Bucdde Grde
                                      St. Paul, MN 55110
                                      1-sn-n3-2o7o
                                      w\vw.quailforever.org
                                                                           Directory
Fax: 303-430-7236
www.ihca-usa.org                      \V\vw.pheasantsfora-er.org
                                                                           Watufowl USA
National Bowhunter Education          Rocky Mountain Flk Foundation        The Waterfowl Building Box 50
Foundation (NBEF)                     5705 Grant Ctttk                     Edgefield, SC 29824
P.O. Box2934                          Missoula, MT 59808                   803~37-5767
Rapid Cir:y, so 5no9                  1-800-CALLELK                        www.waterfowlusa.org
605-716-0596                          www.rrnef.org
Fax:309-40 1 ~96
E-mail: info@nbcf.org                                                      Whitetails Unlimited
                                      The huk Walton League of America
www.nbef.org                          707 Conservation Lane                P.O. Box 720
                                      Gaithersburg, MD 20878-2983          2100 Michigan St.
                                      301-548-01 50                        Sturgeon Bay. WI 54235
National Rifle Association (NRA)                                           920-743~777
                                      E-mail: info@iwla.org
11250 Waples Mill Rd.                 www.iwla.org                         www.whitctaibunlimitcd.com
Fairfax, VA 22030
1-800-672-3888                                                             Wtld Sheep Foundation
www.nra.org                           The Ruffed Grouse Socicr:y
                                                                           720 Allen Ave.
                                      451 McCormick Rd.                    Cody, WY 82414
National Shooting Sports              Coraopolis, PA 15108                 307-527-6261
Foundation                            412-262-4044                         www.wildshecpfoundadon.org
                                      www.ruffcdgrousesocier:y.org
Flindock Ridge Office Center
II Mile Hill Rd.
Newtown, cr 06470-2359
203-426-1320
www.nss£org




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             EXHIBIT "3"




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                                         Cal Pen Code § 26840
Deering's California Codes are current through Chapters 1-70, 72-136, 138-173, 175-185, 188-193, 195, 196, 198-
200, 202-213, 215, and 217-222 of the 2019 Regular Session, including all legislation effective September 4, 2019
                                                   or earlier.

Deering’s California Codes Annotated > PENAL CODE (§§ 1 — 34370) > Part 6 Control of
Deadly Weapons (Titles 1 — 4) > Title 4 Firearms (Divs. 1 — 12) > Division 6 Sale, Lease, or
Transfer of Firearms (Chs. 1 — 6) > Chapter 2 Issuance, Forfeiture, and Conditions of License to
Sell, Lease, or Transfer Firearms at Retail (Arts. 1 — 6) > Article 2 Grounds for Forfeiture of
License (§§ 26800 — 26915)



§ 26840. Presentation of safety certificate

   (a)A dealer shall not deliver a firearm unless the person receiving the firearm presents to the dealer a valid
   firearm safety certificate, or, in the case of a handgun, an unexpired handgun safety certificate. The firearms
   dealer shall retain a photocopy of the firearm safety certificate as proof of compliance with this requirement.
   (b)This section shall become operative on January 1, 2015.

History


Added Stats 2013 ch 761 § 4 (SB 683), effective January 1, 2014, operative January 1, 2015.

Annotations

Notes


   Former Sections:

   Historical Derivation:


Former Sections:

Former Pen C § 26840, similar to the present section, was added Stats 2010 ch 711 § 6, effective January 1, 2011,
operative January 1, 2012, amended Stats 2011 ch 745 § 9, Stats 2013 ch 761 § 3, and repealed January 1, 2015,
by its own terms.


Historical Derivation:

(a) Former Pen C § 12071(b)(8)(A)-(B), as amended Stats 1992 ch 6 § 1, ch 1326 § 5, Stats 1993 ch 606 § 9, ch
1139 § 5, Stats 1994 ch 716 § 5.3, Stats 1995 ch 178 § 3, Stats 1996 ch 128 § 3, Stats 1997 ch 460 § 3, Stats
1998 ch 908 § 2.5, Stats 1999 ch 128 § 1, Stats 2001 ch 944 § 5.1, Stats 2002 ch 911 §§ 1, 1.5, Stats 2003 ch 502
§ 2, Stats 2004 ch 247 § 10, Stats 2005 ch 715 § 9, Stats 2006 ch 784 § 1, Stats 2008 ch 698 § 16, Stats 2009 ch
335 § 10.

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                                                         Cal Pen Code § 26840

(b) Former Pen C § 26840, as added Stats 2010 ch 711 § 6, amended Stats 2011 ch 745 § 9, Stats 2013 ch 761 §
3.

Research References & Practice Aids


Treatises:

Cal. Legal Forms, (Matthew Bender) §§ 102B.50[1], 102B.112.


Deering’s California Codes Annotated
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             EXHIBIT "4"




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                               FSC


              Firearm Safety
                Certiﬁcate




                                      STUD Y           G UIDE
                                      Office of the Attorney General
                                      California Department of Justice
                                      Bureau of Firearms
                                      January 2019


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               P        r        e        f        a        c        e




              Firearm safety is the law in California. Every firearm owner
              should understand and follow firearm safety practices, have a
              basic familiarity with the operation and handling of their
              firearm, and be fully aware of the responsibility of firearm
              ownership. Pursuant to Penal Code section 26840, any person
              who acquires a firearm must have a Firearm Safety Certificate
              (FSC), unless they are statutorily exempt from the FSC
              requirement. To obtain an FSC, a person must pass a
              Department of Justice (DOJ) written test on firearm safety.
              The test is administered by DOJ Certified Instructors, who are
              often located at firearms dealerships.
              This study guide provides the basic firearm safety information
              necessary to pass the test. Following the firearm safety
              information in this guide will help reduce the potential for
              accidental deaths and injuries, particularly those involving
              children, caused by the unsafe handling and storing of
              firearms.
              In addition to safety information, this study guide provides a
              general summary of the state laws that govern the sale and use
              of firearms. Finally, there is a glossary that defines the more
              technical terms used in the study guide.
              Simply reading this study guide will not make you a safe
              firearm owner. To be a safe firearm owner you must practice
              the firearm safety procedures described in the following
              pages.




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                                  Introduction



      WHY FIREARM SAFETY?
      Firearm safety is important to all Californians. No one wants firearm accidents to
      happen yet they do every day. Firearm accidents involving children are
      especially disturbing. Studies show that easy access to loaded firearms in homes
      is often a contributing factor in accidental shootings of children.
      While there may be no way to guarantee safety, firearm owners can take steps to
      help prevent many accidental shootings. This study guide will give you valuable
      information to help you become a safe and responsible firearm owner.

      FIREARM SAFETY IS THE LAW
      The intent of the California Legislature in enacting the FSC law is to ensure that
      persons who obtain firearms have a basic familiarity with those firearms, including
      but not limited to, the safe handling and storage of those firearms. It is not the intent
      of the Legislature to require an FSC for the mere possession of a firearm. (Pen.
      Code, § 31610.)

      Firearms must be handled responsibly and securely stored to prevent access by
      children and other unauthorized users. California has strict laws pertaining to
      firearms, and you can be fined or imprisoned if you fail to comply with them. Visit
      the Web site of the California Attorney General at https://oag.ca.gov/firearms for
      information on firearms laws applicable to you and how you can comply.

      FIREARM SAFETY CERTIFICATE INFORMATION
      To obtain an FSC, you must take the DOJ written test and receive a passing score of
      at least 75% (the information needed to pass the test is contained in this study guide).
      An FSC is valid for five years from the date of issuance. If your FSC is lost, stolen or
      destroyed, a replacement may be obtained from the DOJ Certified Instructor who
      issued your original FSC.
      Pursuant to Penal Code section 31700, there are exemptions from the FSC
      requirement including, but not limited to:
           • Federal Firearms License Collectors with a Certificate of Eligibility
             (for Curio and Relic transactions only);
           • Active, active reserve, or honorably retired military;

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          • Carry Concealed Weapon (CCW) permit holders; and
          • Persons who have completed Peace Officers Standards and Training
            (POST)(Pen. Code, § 832) firearms training.
      For a complete list of exemptions visit the DOJ website at http://oag.ca.gov/firearms or
      contact the DOJ Bureau of Firearms, General Information Line at (916) 227-7527. You are
      required to provide documentation of your exemption to the firearms dealer each time you
      acquire a firearm.E HANDLING DEMONSTRATION

       CAUSES OF FIREARM ACCIDENTS
      Ignorance and carelessness are major causes of firearm accidents. To help reduce the
      number of firearm accidents, it is critical that gun safety rules are understood and
      practiced at all times by every family member.
      Following are some examples of firearm accidents that could have been avoided if the basic
      gun safety rules had been practiced:
              Two young children playing in their home found a loaded handgun with the
              magazine removed on a bedside table. One child was injured when the
              handgun was fired.

              A handgun owner assumed a firearm was unloaded. While cleaning it, he
              accidentally fired the handgun, causing injury to himself.

              A hunter was walking with his finger loosely on the trigger of his rifle.
              Distracted by a sudden noise behind him, he turned and accidentally fired,
              injuring his buddy walking nearby.

      Knowing the safety rules and applying them most of the time is not enough. Firearm
      accidents can happen even to a person who knows the safety rules, but is careless in
      following them. For example, you may think you can leave your loaded firearm out on the
      kitchen table just for a moment while you go outside to turn off the garden hose. Although
      you know you should never leave a firearm where a child may find it, you carelessly think
      it will be alright “just this once.”
      REMEMBER: Ignorance and carelessness can result in firearm accidents. Basic gun safety
      rules must be applied ALL OF THE TIME.

      PREVENTING MISUSE TRAGEDIES
      It’s a fact that many depressed, intoxicated, substance abusive, or enraged individuals
      commit suicide every year with firearms, usually handguns. The developmental issues
      associated with adolescence make teenagers particularly susceptible to this unfortunate
      outcome. Safe and responsible firearm storage, particularly when a member of the
      household is experiencing one of the aforementioned conditions, can help prevent
      tragedies.




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      BECOMING A SAFE AND RESPONSIBLE FIREARM OWNER
      Becoming a safe firearm owner is similar to becoming a safe driver—you combine a
      good working knowledge of the equipment, the basic skills of operation, and a mind
      set dedicated to safe and responsible usage and storage.
      This means you must have:
          • Respect for the danger of firearms;
          • An awareness and concern about the possible safety hazards related to
            firearms; and
          • A desire to learn and practice safe conduct with firearms.
      Developing a mind set for safe and responsible firearm usage and storage is the first
      step in actually becoming a responsible firearm owner. The next step is building
      your knowledge of firearms and gun safety, which you can do by reading and
      understanding the information in this study guide. The final steps are becoming
      skillful in handling firearms and using the safety knowledge that you have acquired.




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                                         CHAPTER 1
                            Gun Safety Rules


      This chapter will introduce you to specific gun safety rules to give you a better
      understanding of firearm safety.

      THE SIX BASIC GUN SAFETY RULES
      There are six basic gun safety rules for gun owners to understand and practice at
      all times:
          1. Treat all guns as if they are loaded.
          2. Keep the gun pointed in the safest possible direction.
          3. Keep your finger off the trigger until you are ready to shoot.
          4. Know your target, its surroundings, and beyond.
          5. Know how to properly operate your gun.
          6. Store your gun safely and securely to prevent unauthorized use. Guns and
             ammunition should be stored separately.

      1. Treat all guns as if they are loaded.
          • Always assume that a gun is loaded even if you think it is unloaded.
          • Every time a gun is handled for any reason, check to see that it is
            unloaded. For specific instructions on how to unload a firearm, see
            Chapter 3.
          • If you are unable to check a gun to see if it is unloaded, leave it alone
            and seek help from someone more knowledgeable about guns.

      2. Keep the gun pointed in the safest possible direction.
          • Always be aware of where the gun is pointing. A “safe direction” is one
          • where an accidental discharge of the gun will not cause injury or damage.
          • Only point a gun at an object that you intend to shoot.
          • Never point a gun toward yourself or another person.

      3. Keep your finger off the trigger until you are ready to shoot.
          • Always keep your finger off the trigger and outside the trigger guard until
            you are ready to shoot.

                                            Exhibit 4
                                              01414
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         •   Even though it may be comfortable to rest your finger on the trigger, it is
             unsafe.
         •   If you are moving around with your finger on the trigger and stumble
             or fall, you could inadvertently pull the trigger.
         •   Sudden loud noises or movements can result in an accidental discharge
             because there is a natural tendency to tighten the muscles when startled.
         •   The trigger is for firing, the handle is for handling.

      4. Know your target, its surroundings, and beyond.
         •   Check that the areas in front of and behind your target are safe before
             shooting.
         •   Be aware that if the bullet misses or completely passes through the target, it
             could strike a person or object.
         •   Identify the target and make sure it is what you intend to shoot. If you are in
             doubt, DON’T SHOOT!
         •   Never fire at a target that is only a movement, color, sound or unidentifiable
             shape.
         •   Be aware of all the people around you before you shoot.

      5. Know how to properly operate your gun.
         • It is important to become thoroughly familiar with your gun. You should know
           its mechanical characteristics including how to properly load, unload and clear
           a malfunction from your gun.
         •   Obviously, not all guns are mechanically the same. Never assume that what
             applies to one make or model is exactly applicable to another.
         •   You should direct questions regarding the operation of your gun to your
             firearms dealer, or contact the manufacturer directly.

      6. Store your gun safely and securely to prevent unauthorized use.
         Guns and ammunition should be stored separately.
         •   Even when the gun is not in your hands, you must still think of safety.
         •   Use a California-approved firearms safety device on the gun, such as a
             trigger lock or cable lock, so it cannot be fired.
         •   Store your gun unloaded in a locked container, such as a California-approved
             lock box or a gun safe.
         •   Store your gun in a different location than the ammunition.
         •   For maximum safety you should use both a locking device and a storage
             container.


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      ADDITIONAL SAFETY POINTS
      The six basic safety rules are the foundational rules for gun safety. However, there
      are additional safety points which must not be overlooked:
          • Never handle a gun when you are in an emotional state such as anger or
            depression. Your judgment may be impaired.
          • Never shoot a gun in celebration (such as on the Fourth of July or New
            Year’s Eve, for example). Not only is this unsafe, but it is generally
            illegal. A bullet fired into the air can return to the ground with enough
            speed to cause injury or death.
          • Do not shoot at water, flat or hard surfaces. The bullet can ricochet and hit
            someone or something other than the target.
          • Hand your gun to someone only after you verify that it is unloaded and the
            cylinder or action is open. Take a gun from someone only after you verify
            that it is unloaded and the cylinder or action is open.
          • Guns, alcohol and drugs don’t mix. Alcohol and drugs can negatively affect
            judgment as well as physical coordination. Alcohol and any other substances
            are likely to impair normal mental or physical functions and should not be
            used before or while handling guns. Avoid handling and using your gun
            when you are taking medications that cause drowsiness or include a warning
            to not operate machinery while taking the drug.
          • The loud noise from a fired gun can cause hearing damage, and the debris
            and hot gas that is often emitted can result in eye injury. Always wear ear
            and eye protection when shooting a gun.




                                            Exhibit 4
                                              0143
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                                                  CHAPTER 1:       Self Test
        1. A safe practice when handling a         5. As a safety measure, your firearm
            gun is to rest your finger on the          should always be pointed:
            outside of the trigger guard or            (page 4 )
            along the side of the gun until            A. To the north.
            you are ready to shoot. (page 4)           B. In the safest
            True     False                                possible direction.
                                                       C. Up.
        2. To “know your target, its                   D. Down.
            surroundings and beyond,” you
            must consider that if the bullet       6. One of the safety rules is to know
            misses or completely passes                how to properly: (page 5)
            through the target, it could strike
                                                       A.   Clear a malfunction.
            a person or object. (page 5 )
                                                       B.   Operate your gun.
            True     False
                                                       C.   Load your gun.
        3. Drinking alcohol while                      D.   Clean your gun.
            handling firearms is safe if your
            blood alcohol level remains
            below the legal limit. (page 6)
            True     False

        4. Which of the following safety
            points should you remember
            when handling a gun? (page 6)
            A. Never shoot a gun in
               celebration.
            B. Do not fire at water,
               flat or hard surfaces.
            C. Wear ear and eye
               protection when shooting a
               gun.
            D. All of the above.




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                                           0144
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                                          CHAPTER 2
                   Firearms and Children



      FIREARM OWNER RESPONSIBILITY
      It is a firearm owner’s responsibility to take all possible steps to make sure a
      child cannot gain access to firearms. In fact, this responsibility is mandated by
      California law. The overall abiding rule is to store your gun in a safe and
      responsible manner at all times. As a firearm owner, you should be aware of the
      laws regarding children and firearms.

      Summary of Safe Storage Laws Regarding Children
      You may be guilty of a misdemeanor or a felony if you keep a loaded firearm within
      any premises that are under your custody or control and a child under 18 years of age
      obtains and uses it, resulting in injury or death, or carries it to a public place, unless
      you stored the firearm in a locked container or locked the firearm with a locking
      device to temporarily keep it from functioning. Please refer to Page 42 for more
      specific information regarding safe storage laws related to children.

      You Cannot Be Too Careful with Children and Guns
      There is no such thing as being too careful with children and guns. Never assume that
      simply because a toddler may lack finger strength, they can’t pull the trigger. A child’s
      thumb has twice the strength of the other fingers. When a toddler’s thumb “pushes”
      against a trigger, invariably the barrel of the gun is pointing directly at the child’s face.
      NEVER leave a firearm lying around the house. Please refer to Pages 31 and 32 for
      more information regarding safe storage and methods of childproofing your firearm.
      Child safety precautions still apply even if you have no children or if your children
      have grown to adulthood and left home. A nephew, niece, neighbor’s child or a
      grandchild may come to visit. Practice gun safety at all times.
      To prevent injury or death caused by improper storage of guns in a home where
      children are likely to be present, you should store all guns unloaded, lock them with a
      firearms safety device and store them in a locked container. Ammunition should be
      stored in a location separate from the gun.




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                                                0145
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      Talking to Children about Guns
      Children are naturally curious about things they don’t know about or think are
      “forbidden.” When a child asks questions or begins to act out “gun play,” you
      may want to address his or her curiosity by answering the questions as honestly
      and openly as possible. This will remove the mystery and reduce the natural
      curiosity. Also, it is important to remember to talk to children in a manner they
      can relate to and understand. This is very important, especially when teaching
      children about the difference between “real” and “make-believe.” Let children
      know that, even though they may look the same, real guns are very different than
      toy guns. A real gun will hurt or kill someone who is shot.

      Instill a Mind Set of Safety and Responsibility
      The American Academy of Pediatrics reports that adolescence is a highly
      vulnerable stage in life for teenagers struggling to develop traits of identity,
      independence and autonomy. Children, of course, are both naturally curious
      and innocently unaware of many dangers around them. Thus, adolescents as
      well as children may not be sufficiently safeguarded by cautionary words,
      however frequent contrary actions can completely undermine good advice. A
      “do as I say and not as I do” approach to gun safety is both irresponsible and
      dangerous.
      Remember that actions speak louder than words. Children learn most by
      observing the adults around them. By practicing safe conduct you will also be
      teaching safe conduct.

      RULES FOR KIDS
      Adults should be aware that a child could discover a gun when a parent or any
      other adult is not present. This could happen in the child’s own home; the
      home of a neighbor, friend or relative; or in a public place such as a school or
      park. If this should happen, a child should know the following rules and be
      taught to practice them.

      1. Stop
      The first rule for a child to follow if he/she finds or sees a gun is to stop
      what he/she is doing.

      2. Don’t Touch!
      The second rule is for a child not to touch a gun he/she finds or sees. A child may
      think the best thing to do if he/she finds a gun is to pick it up and take it to an
      adult. A child needs to know he/she should NEVER touch a gun he/she may find or
      see.

      3. Leave the Area
      The third rule is to immediately leave the area. This would include never taking a
      gun away from another child or trying to stop someone from using gun.
                                          Exhibit 4
                                            0146
                                              9
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      4. Tell an Adult
      The last rule is for a child to tell an adult about the gun he/she has seen.
      This includes times when other kids are playing with or shooting a gun.
      Please note that, while there is no better advice at this time for children or
      adolescents who encounter a gun by happenstance, the California Chapter of
      the American College of Emergency Physicians reports that such warnings alone
      may be insufficient accident prevention measures with children and adolescents.




                                          Exhibit 4
                                            0147
                                               10
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                                                 CHAPTER 2:       Self Test
        1. Toddlers lack the strength to pull     5. The four safety “Rules for Kids”
            the trigger of a firearm. (page 8)        if they see a gun are: (page 9)
            True     False                            A.
                                                      B.
        2. You may face misdemeanor or                C.
            felony charges if you keep a              D.
            loaded firearm where a child
            obtains and improperly uses           6. Child safety precautions
            it. (page 8)                              only apply if you have
            True     False                            children. (page 8)
                                                      True    False
        3. There is no such thing as being
            too careful with children and
            guns. (page 8)
            True     False

        4. An important lesson children
            should learn is that guns are
            not toys. (page 9)
            True     False




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                                           0148
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                                       CHAPTER 3
                          Firearm Operation
                          and Safe Handling


      SAFE HANDLING DEMONSTRATION
      Pursuant to Penal Code sections 26850 and 26860, prior to taking delivery of a
      firearm from a licensed firearms dealer in California, an individual must correctly
      perform a safe handling demonstration with the firearm he or she is acquiring. The
      safe handling demonstration must be performed in the presence of a DOJ Certified
      Instructor on or after the date the Dealer Record of Sale (DROS) is submitted to the
      DOJ and before the firearm is delivered. This section lists each of the steps that
      constitute the statutorily mandated safe handling demonstrations for the most
      common handgun types (semiautomatic pistols, double-action revolvers and single-
      action revolvers). This section also includes safe handling demonstration steps for
      most long gun types. However, this information will not appear on the DOJ written
      test on firearm safety. Please note that a dummy round as stated in this guide refers to
      one bright orange, red or other readily identifiable dummy round. If no readily
      identifiable dummy round is available, an empty cartridge casing with an empty
      primer pocket may be used.

      The safe handling demonstration shall commence with the firearm unloaded and
      locked with the firearm safety device with which it is required to be delivered, if
      applicable. While maintaining muzzle awareness (that is, the firearm is pointed in a
      safe direction, preferably down at the ground) and trigger discipline (that is, the
      trigger finger is outside of the trigger guard and alongside of the firearm frame) at
      all times, the firearm recipient shall correctly and safely perform the safe handling
      demonstration steps for each firearm type.

       REVOLVER PARTS AND OPERATION

      How a Revolver Works
      A revolver has a rotating cylinder containing a number of chambers. There are usually
      five or six chambers. The action of the trigger or hammer will line up a chamber with
      the barrel and firing pin. Releasing the cylinder latch allows the cylinder to swing out
      for loading, unloading and inspection.
      Revolvers are either single or double-action. The primary difference between these
      two types of revolvers is the function of the trigger. On a single-action revolver the
      trigger has a single function to release the hammer. The trigger on a double- action
      revolver has two functions to cock the hammer and to release it.

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     S   DOUBLE-ACTION REVOLVER SAFE HANDLING


                            barrel                     cylinder



                                                                                   hammer
                                                                                   cylinder
                                                                                   latch
                           ejector rod

                                     trigger


                                     trigger guard



                                                        grip



         1.   Open the cylinder.
                                                          3. Remove the firearm safety device.
                                                             If the firearm safety device
                                                             prevents any of the previous steps,
                                                             remove the firearm safety device
                                                             during the appropriate step.




         2.   Visually and physically inspect each
              chamber to ensure that the revolver is
              unloaded.




                                               Exhibit 4
                                                 0150
                                                    13
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     4.   While maintaining muzzle               6.     Open the cylinder and eject the
          awareness and trigger discipline,             round.
          load one dummy round into a
          chamber of the cylinder and rotate
          the cylinder so that the round is in
          the next-to-fire position.




                                                 7.     Visually and physically
                                                        inspect each chamber to
                                                        ensure that the revolver is
                                                        unloaded.




     5.   Close the cylinder.                    8.   Apply the firearm safety
                                                      device, if applicable.




     NOTE: Simply spinning a revolver to an empty chamber does not unload it or make
     it safe. The cylinder rotates to the next chamber before the hammer falls.

                                            Exhibit 4
                                              0151
                                                 14
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      SINGLE-ACTION REVOLVER SAFE HANDLING

                 .
                 barrel                  cylinder


                                                                       hammer




         firearm safety device




                                                              grip




        1.    Open the loading gate.                2.   Visually and physically inspect
                                                         each chamber to ensure that the
                                                         revolver is unloaded.




                                       Exhibit 4
                                         0152
                                            15
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      3.   Remove the firearm safety device        6.   Visually and physically inspect each
           required to be sold with the                 chamber to ensure that the revolver is
                                                        unloaded.
           firearm. If the firearm safety
           device prevents any of the
           previous steps, remove the firearm
           safety device during the
           appropriate step.




                                                   7.   Apply the firearm safety device, if
                                                        applicable.



      4.   Load one dummy round into a
           chamber of the cylinder, close
           the loading gate and rotate the
           cylinder so that the round is in
           the next-to-fire position (the
           revolver may need to be placed
           on half-cock or the loading
           gate reopened).

                                                   *    1873 Rule: Recipients of original
                                                        versions of single-action army
                                                        revolvers should be advised to
                                                        carry five rounds in the cylinder
                                                        and leave the chamber under
                                                        the hammer empty.




      5.   Open the loading gate and
           unload the revolver.




                                              Exhibit 4
                                                0153
                                                  16
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     SEMIAUTOMATIC PISTOL PARTS AND OPERATION

    How a Semiautomatic Pistol Works
    A semiautomatic pistol has a single chamber. Each time the trigger is pulled, a
    cartridge is fired, the empty case is automatically extracted and ejected, the
    hammer is cocked, and a new cartridge is loaded into the chamber.
    The primary difference between revolvers and semiautomatic pistols is how the
    ammunition is held. Revolvers use a cylinder to hold ammunition. Semiautomatic
    pistols use a magazine to hold ammunition. A magazine is a separate metal boxlike
    container into which cartridges are loaded. It is usually located within the grip. A
    button or catch releases the magazine.
    Another difference is most semiautomatic pistols have a “safety” that is designed to
    prevent firing when engaged. However, it is not foolproof so do not rely on the
    safety to prevent an accidental discharge. A safety should be considered an
    additional safety measure.
    Never pull the trigger on any firearm with the safety in the “safe” position
    because thereafter the firearm could fire at any time without the trigger ever being
    touched. If a firearm is dropped, it may land hard enough to activate the firing
    mechanism without the trigger being touched.


    SEMIAUTOMATIC PISTOL SAFE HANDLING



                           slide       slide lock      safety    hammer


                                                                   cartridge




                       trigger

                           trigger
                           guard      magazine
                                      release



                                               grip              magazine




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                                           0154
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        1.   Remove the magazine.                  4.   Remove the firearm safety
                                                        device, if applicable. If the firearm
                                                        safety device prevents any of the
                                                        previous steps, remove the firearm
                                                        safety device during the
                                                        appropriate step.




        2.   Lock the slide back. If the model
             of firearm does not allow the slide
             to be locked back, pull the slide
             back, visually and physically
             inspect the chamber to ensure that
             it is clear.                          5.   Load one dummy round into the
                                                        magazine.




        3.   Visually and physically inspect the
             chamber, to ensure that the           6.   Insert the magazine into the
             firearm is unloaded.                       magazine well of the firearm.




                                          Exhibit 4
                                            0155
                                              18
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      7.   Manipulate the slide release or        10.   Lock the slide back to eject
           pull back and release the slide.             the dummy round. If the firearm is
                                                        of a model that does not allow the
                                                        slide to be locked back, pull the
                                                        slide back and physically check the
                                                        chamber to ensure that the chamber
                                                        is clear.




      8.   Remove the magazine.




                                                  11. Apply the safety, if applicable.




      9.   Visually inspect the chamber to
           reveal that a round can be
           chambered with the magazine
           removed.
                                                  12.   Apply the firearm safety device,
                                                        if applicable.




                                             Exhibit 4
                                               0156
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        Note: If you release the slide before inserting the magazine,
        there will NOT be a cartridge in the chamber.


                  You should NOT assume a semiautomatic pistol is unloaded just
                  because the magazine is removed from the handgun.
                  Do not allow the slide to go forward UNLESS you have:
        CAUTION




                      1. Checked again to be sure the chamber is empty, and
                      2. Checked again to be sure the magazine has been REMOVED.
                  If you pull the slide back ejecting the cartridge, check the chamber, let
                  the slide go forward, and THEN remove the magazine, you have a
                  loaded, dangerous firearm (a cartridge is in the chamber) even though
                  you have removed the magazine. It is common and sometimes fatal to
                  make this error.
                  ALWAYS REMOVE THE MAGAZINE FIRST!




                                           Exhibit 4
                                             0157
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       The demonstration shall commence with the firearm unloaded and locked with the
       firearm safety device with which it is required to be delivered, if applicable. While
       maintaining muzzle awareness (that is, the firearm is pointed in a safe direction,
       preferably down at the ground) and trigger discipline (that is, the trigger finger is
       outside of the trigger guard and alongside of the receiver) at all times, the firearms
       recipient shall correctly and safely perform the steps identified for each firearm type.

       The following safe handling demonstration steps for long guns are generally applicable
       to the various firearm models of each firearm “type” (e.g. pump action long gun,
       break-top revolver, etc.). However, the specified safe handling demonstration steps
       may not be appropriate for a particular model of firearm. If uncertain, refer to the
       owner’s manual or consult with a DOJ Certified Instructor.

       Pump Action Long Gun
                stock              ejection port                          barrel




                                                                               tubular magazine

                            trigger trigger guard       forend


       1.   Open the ejection port.
       2.   Visually and physically inspect the chamber to ensure the firearm is unloaded.
            Visually and physically inspect the magazine follower to ensure the magazine is
            unloaded (if the magazine follower is not visible, there may be shotshells or
            cartridges lodged in the tubular magazine).
       3.   Remove the firearm safety device. If the firearm safety device prevents any of the
            previous steps, remove the firearm safety device during the appropriate step.
       4.   While maintaining muzzle awareness and trigger discipline, load one dummy
            round into the magazine loading port.
       5.   Pull the forend (or forearm) rearward toward the receiver causing the dummy
            round to enter the breech. Push the forend forward to chamber the round. The
            dummy round should have moved from the tubular magazine into the chamber.
       6.   Push the action (carrier) release button and again pull the forend toward the
            receiver causing the action to open. The dummy round should extract from the
            chamber and be ejected through the ejection port.
       7.   Engage the safety.
       8.   Apply the firearm safety device, if applicable.



                                           Exhibit 4
                                             0158
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       Break-Top Long Gun
                Stock               hammer              breech lock       barrel(s)



                                                 trigger


                                              trigger guard


       1.   Open the breech.
       2.   Visually and physically inspect the chamber/barrel to ensure the firearm is
            unloaded.
       3.   Remove the firearm safety device. If the firearm safety device prevents any of the
            previous steps, remove the firearm safety device during the appropriate step.
       4.   While maintaining muzzle awareness and trigger discipline, load one dummy
            round into a barrel.
       5.   Close and lock the action.
       6.   Unlock and open the action.
       7.   Remove the dummy round.
       8.   Apply the firearm safety device, if applicable.

       Bolt Action Long Gun
               Stock               bolt                                         barrel




                                              trigger

                              trigger guard

       1.   Visually and physically inspect the chamber/barrel to ensure the long gun is
            unloaded. Also visually and physically inspect the internal magazine to ensure it
            is unloaded.
       2.   Remove the firearm safety device. If the firearm safety device prevents any of the
            previous steps, remove the firearm safety device during the appropriate step.
       3.   While maintaining muzzle awareness and trigger discipline, load one dummy
            round into the chamber/barrel.
       4.   Close and lock the action.
       5.   Unlock and open the action.
       6.   Remove the dummy round.
       7.   Apply the firearm safety device, if applicable.

                                          Exhibit 4
                                            0159
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       Lever Action Long Gun

       When handling a lever action firearm with an exposed hammer, please use caution and
       consult with a DOJ Certified Instructor for proper handling steps. Use only flat point,
       hollow point, round nose flat point, or similar rounds. Never use pointed or conical
       point rounds in a center fire rifle with a tubular magazine. Failure to follow these
       instructions may result in injury to yourself or others, or cause damage to your firearm.

                                   hammer loading port                          barrel

                 stock




                                                                             tubular magazine
                                         trigger
                                    lever
       1.   Open the breech.
       2.   Visually and physically inspect the chamber/barrel to ensure the firearm is
            unloaded. Visually and physically inspect the magazine follower to ensure the
            magazine is unloaded (if the magazine follower is not visible, there may be
            cartridges lodged in the tubular magazine).
       3.   Remove the firearm safety device. If the firearm safety device prevents any of the
            previous steps, remove the firearm safety device during the appropriate step.
       4.   While maintaining muzzle awareness and trigger discipline, load one dummy
            round into the chamber/barrel.
       5.   Close and lock the action.
       6.   Unlock and open the action.
       7.   Remove the dummy round.
       8.   Apply the firearm safety device, if applicable.




                                          Exhibit 4
                                            016023
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       Semiautomatic Long Gun With a Detachable Magazine

                 stock                    charging handle                     barrel




                                trigger        magazine release lever

              trigger guard                         safety
      1. Remove the magazine.
      2. Pull the bolt back and lock it open if possible.
      3. Visually and physically inspect the barrel/chamber to ensure the firearm is
          unloaded.
      4. Remove the firearm safety device. If the firearm safety device prevents any of the
          previous steps, remove the firearm safety device during the appropriate step.
      5. While maintaining muzzle awareness and trigger discipline, load one dummy
          round into the magazine.
      6. Insert the magazine into the magazine well.
      7. Close and lock the action.
      8. Unlock and open the action.
      9. Remove the dummy round.
      10. Apply the firearm safety device, if applicable.

       Semiautomatic Long Gun With a Fixed Magazine
             stock                  operating rod                              barrel




                                                 safety

                          trigger trigger guard
       1.   Pull the bolt back and lock it open if possible.
       2.   Visually and physically inspect the barrel/chamber to ensure the firearm is
            unloaded. Also visually and physically inspect the internal magazine to ensure it
            is unloaded.
       3.   Remove the firearm safety device. If the firearm safety device prevents any of the
            previous steps, remove the firearm safety device during the appropriate step.
       4.   While maintaining muzzle awareness and trigger discipline, load one dummy
            round into the magazine.
       5.   Close and lock the action.
       6.   Unlock and open the action.
       7.   Remove the dummy round (the dummy round should have extracted from the
            chamber and ejected from the breech).
                                            Exhibit 4
                                              0161
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      AMMUNITION
      An often overlooked aspect of safe firearm operation is knowing about the
      ammunition you use. It is important for you to know which ammunition can be
      used safely in your firearm.

      Ammunition Components
      A firearm cartridge, commonly referred to as a “round,” is a single unit of
      ammunition made up of four parts: the case, the primer, the propellant and the
      bullet.

      Components of a Cartridge


                                        case                       bullet




                            primer             propellant
                                               (inside of case)


      The case is the metal cylinder that is closed at one end and contains the other three
      components.
      The primer is the impact-sensitive chemical compound used for ignition. The
      propellant is a fast-burning chemical compound.

      The bullet is the projectile fired from a firearm. It is usually made of lead,
      sometimes covered with a layer of copper or other metal and is located at the tip of
      the cartridge. People often mistakenly refer to the entire cartridge as a “bullet.”
      Actually the bullet is just one part of a cartridge.

      PHYSICS OF GUNFIRE
      To understand the power of a firearm, it is helpful to know some of the physics of
      gunfire. The fall of the hammer causes the primer to ignite the powder, which
      burns to produce gases. These rapidly-expanding gases push the bullet through the
      barrel and toward the target. The push of gases against the firearm results in what
      is called recoil. Some shooters are startled by recoil. Firearms vary in how much
      recoil they generate. Anticipation of recoil may cause an inexperienced shooter to
      grasp the firearm too tightly or flinch. Shooting a firearm properly minimizes the
      negative effects of recoil on the shooter.

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      FIREARM AND AMMUNITION CALIBERS
      Firearms and ammunition are made in various calibers. Firearm caliber refers to barrel
      diameter. Revolvers generally have the caliber information on the barrel.
      Semiautomatic pistols generally have the caliber information on the slide. Ammunition
      caliber refers to bullet diameter. Ammunition has the caliber information on the box.
      Some of the more common calibers are the .22, .45, and 9 mm. You must only use the
      caliber of ammunition recommended by the manufacturer of your firearm.




                                                         .357 Magnum




                    9 mm Luger

      Just because a cartridge fits your firearm does not necessarily mean the cartridge is safe
      to shoot. A firearm may not be able to handle the pressure created by using incorrect
      ammunition. This could result in damage to the firearm and possible injury to yourself
      or bystanders.
      Never shoot ammunition that is old, dirty, corroded or wet, or ammunition that cannot be
      fully identified. This could cause a malfunction such as a jam or a misfire, or explosion
      of the firearm. Never throw ammunition in the trash. Call your local refuse department
      and ask for proper disposal instructions.
      Some ammunition is illegal. Your firearms dealer can help you identify the correct and
      legal ammunition for your firearm. Purchase your ammunition from an authorized
      ammunition dealer only.




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      DANGEROUS RANGE
      In order to shoot a firearm safely, you need to know not only your target but also the
      dangerous range of your ammunition. The dangerous range is the distance that a
      bullet can travel. Most ammunition can travel at least a mile, with some having the
      capability of traveling MORE than two miles. Therefore, even though you may fire
      at a target only a few feet or yards away, your bullet could travel far beyond your
      target. As it travels, the potential for damage widens. The importance of the
      dangerous range is that you must consider how much farther the bullet can travel
      beyond the target because a bullet that misses or passes through a target could strike
      a person or object. If you think only of your target and not the dangerous range, you
      might mistakenly think someone or something is “too far away” to be in danger.
      Another important point to remember is that most ammunition can easily penetrate
      the interior walls of a house and still travel some distance before losing its energy.
      High velocity or magnum ammunition has even greater penetration and distance
      capabilities.
      Remember: Once you fire, you are responsible for any damage or injury your
      bullet causes.

      MALFUNCTIONS
      Any machine can malfunction. A firearm is no different. If your firearm
      malfunctions, always keep the basic safety rules in mind and do the following:


                 STOP FIRING!
       CAUTION




                 KEEP THE GUN POINTED IN A SAFE DIRECTION.
                 WAIT TEN SECONDS.
                 SEEK COMPETENT HELP.

      If you are at a range, the usual procedure to follow when a malfunction occurs is to
      keep your firearm pointed down range, keep your finger off the trigger and raise
      your non-shooting hand until a range official arrives. You have a potentially
      dangerous situation!




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                                                  CHAPTER 3:         Self Test
        1. The importance of the “dangerous        5. After ensuring a double-action
            range” is that a bullet can travel         revolver is pointed in a safe
            far beyond the intended target.            direction and with your finger off
            (page 27)                                  the trigger, you begin unloading
            True     False                             the firearm by: (page 13)
                                                       A.   Opening the cylinder.
        2. The safety on a semiautomatic               B.   Locking the slide back.
            pistol is not foolproof. (page 17)         C.   Opening the loading gate.
            True     False                             D.   Pushing the magazine release.

        3. Just because a cartridge fits into      6. Firearm or ammunition caliber
            your firearm does not necessarily          refers to: (page 26)
            mean it is safe to shoot. (page 26)        A.   Barrel length.
            True     False                             B.   Magazine capacity.
                                                       C.   Barrel or bullet diameter.
        4. In the case of a malfunction,               D.   Bullet velocity.
            you should: (page 27)
            A. Keep your finger on the             7. A magazine is part of a: (page 17)
               trigger.                                A.   Single-action revolver.
            B. Immediately drop the                    B.   Double-action revolver.
               firearm.
                                                       C.   Semiautomatic pistol.
            C. Try and determine where the
               malfunction is.                         D.   Single-action and a double-
                                                            action revolver.
            D. Keep the gun pointed in a safe
               direction.




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                                       CHAPTER 4
                         Firearm Ownership



      UNDERSTAND THE SAFETY ASPECTS OF YOUR FIREARM
      Firearms must be handled responsibly and securely stored to prevent access by
      children and other unauthorized users. California has strict laws pertaining to
      firearms, and you can be fined or imprisoned if you fail to comply with them. Visit
      the Web site of the California Attorney General at https://oag.ca.gov/firearms for
      information on firearms laws applicable to you and how you can comply.
      Get advice from a professional sales person on the safety aspects of the firearm you
      are considering buying. Select the firearm that best suits your personal needs. Ask
      a lot of questions! Ask about the correct ammunition for the firearm you have
      selected.
      Become thoroughly familiar with the mechanics of the firearm you have selected.
      By knowing exactly how your firearm works, you are more likely to recognize any
      possible safety problems.

      CAREFULLY READ ALL INSTRUCTIONAL MATERIAL
      An owner’s manual from the manufacturer of your firearm should be provided
      when you buy a new firearm. Manuals for used firearms usually can be obtained by
      writing or calling the manufacturer.
      Carefully read the manual and use it to familiarize yourself with the firearm and
      its operation.

      ENROLL IN A FIREARM TRAINING COURSE
      To help you learn to drive a car you probably had some “behind the wheel” training
      and practice before you got your driver’s license. This also applies to firearm
      ownership. The best way to become skilled in using and understanding how your
      firearm operates is to enroll in a “hands-on” training course. There are many
      firearm training courses that can provide additional safety information.
      For information on training courses in your area, contact a local firearms dealer or
      firearms safety organization.

      CLEANING AND REPAIR
      Maintenance is part of being a responsible firearms owner. Firearms should be
      cleaned regularly and especially after prolonged storage. The barrel should be
      cleaned after every use. Accumulated moisture, dirt or grease can interfere with
      the efficient and safe operation of a firearm.
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      Firearm cleaning kits and materials can be purchased from most firearms dealers. Be
      aware that some firearm cleaning substances are toxic. Carefully read and follow the
      instructions on the cleaning products.
      You should clean your firearm in a location where you will have no distractions. Before
      you begin, always make sure your firearm is unloaded and remove any ammunition from
      the cleaning area. Accidents can happen if cleaning procedures are not followed
      correctly and safely. Therefore, you should follow the cleaning instructions in your
      owner’s manual and on your cleaning products. Firearms dealers or gunsmiths also are
      good sources for cleaning information.
      Care should be taken to ensure adequate ventilation at all times to reduce the risk of
      inhaling lead particles. To avoid accidental ingestion of lead particles, never handle food
      or drink without first washing your hands. Do not smoke when exposed to lead. Wash
      your hands thoroughly after exposure.
      Periodically inspect all firearms you own to be sure that they are in good working
      condition. If you notice any problems, have your firearm checked by a competent
      gunsmith. Any repairs should be made only by a gunsmith or the manufacturer of the
      firearm. You should not attempt to make any major modifications to your firearm.
      Some modifications are illegal and dangerous. They also could void the manufacturer’s
      warranty.
      By keeping your firearm properly maintained, you will ensure that it is safe to
      operate and will function reliably for many years.




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      SAFETY AND STORAGE DEVICES
      If you decide to keep a firearm in your home you must consider the issue of how
      to store the firearm in a safe and secure manner. California recognizes the
      importance of safe storage by requiring that all firearms sold in California be
      accompanied by a DOJ-approved firearms safety device or proof that the
      purchaser owns a gun safe that meets regulatory standards established by the
      DOJ. The current list of DOJ-approved firearms safety devices and the gun safe
      standards can be viewed at the following DOJ website:
      http://oag.ca.gov/firearms/fsdcertlist.
      There are a variety of safety and storage devices currently available to the public in a
      wide range of prices. Some devices are locking mechanisms designed to keep the
      firearm from being loaded or fired, but don’t prevent the firearm from being handled
      or stolen. There are also locking storage containers that hold the firearm out of sight.
      For maximum safety you should use both a firearm safety device and a locking
      storage container to store your unloaded firearm.
      Two of the most common locking mechanisms are trigger locks and cable locks.
      Trigger locks are typically two-piece devices that fit around the trigger and trigger
      guard to prevent access to the trigger. One side has a post that fits into a hole
      in the other side. They are locked by a key or combination locking mechanism.
      Cable locks typically work by looping a strong steel cable through the action of the
      firearm to block the firearm’s operation and prevent accidental firing. However,
      neither trigger locks nor cable locks are designed to prevent access to the firearm.
      Smaller lock boxes and larger gun safes are two of the most common types of
      locking storage containers. One advantage of lock boxes and gun safes is that they
      are designed to completely prevent unintended handling and removal of a firearm.
      Lock boxes are generally constructed of sturdy, high-grade metal opened by either a
      key or combination lock. Gun safes are quite heavy, usually weighing at least 50
      pounds. While gun safes are typically the most expensive firearm storage devices,
      they are generally more reliable and secure.
      Remember: Safety and storage devices are only as secure as the precautions you take
      to protect the key or combination to the lock.




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      METHODS OF CHILDPROOFING
      As a responsible firearm owner, you need to be aware of the methods of childproofing
      your firearm, whether or not you have children.
      Whenever children could be around, whether your own, or a friend’s, relative’s or
      neighbor’s, additional safety steps should be taken when storing firearms and
      ammunition in your home.
        •   Always store your firearm unloaded.
        •   Use a firearms safety device AND store the firearm in a locked container.
        •   Store the ammunition separately in a locked container.
      Always storing your firearm securely is the best method of childproofing your
      firearm; however, your choice of a storage place can add another element of safety.
      Carefully choose the storage place in your home especially if children may be
      around.
        •   Do not store your firearm where it is visible.
        •   Do not store your firearm in a bedside table, under your mattress or pillow, or
            on a closet shelf.
        •   Do not store your firearm among your valuables (such as jewelry or cameras)
            unless it is locked in a secure container.
        •   Make sure the location you store your firearm and ammunition is not easily
            accessible to children.
        •   Consider storing firearms not possessed for self-defense in a safe and secure
            manner away from the home.




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                                                   CHAPTER 4:        Self Test
      1. It is important to carefully read all      5. Which of the following steps
         instructional material you receive             should be taken to “childproof”
         with your firearm. (page 29)                   your firearm? (page 32)
         True       False                               A. Use a firearms safety device
                                                           AND store the firearm in a
      2. Certain modifications, when made                  locked container.
         to a firearm, may void its warranty.           B. Always store your firearm
         (page 30)                                         unloaded.
         True       False                               C. Store ammunition separately
                                                           in a locked container.
      3. It is safe to store a loaded firearm in        D. All of the above.
         your bedside table. (page 32)
         True       False

      4. Two common firearms safety
         devices are trigger locks and cable
         locks. (page 31)
         True       False




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               Prohibited Firearms Transfers
                   and Straw Purchases


    What is a straw purchase?
    A straw purchase is buying a gun for someone who is prohibited by law from possessing
    one, or buying a gun for someone who does not want his or her name associated with the
    transaction.

    It is a violation of California law for a person who is not licensed as a California firearms
    dealer to transfer a firearm to another unlicensed person, without conducting such a
    transfer through a licensed firearms dealer. (Pen. Code, § 27545.) Such a transfer may be
    punishable as a felony. (Pen. Code, § 27590.)
    Furthermore, it is a violation of federal law to either (1) make a false or fictitious
    statement on an application to purchase a firearm about a material fact, such as the
    identity of the person who ultimately will acquire the firearm (commonly known as
    "lying and buying") (18 U.S.C. 922(a)(6)), or (2) knowingly transfer a firearm to a
    person who is prohibited by federal law from possessing and purchasing it. (18 U.S.C.
    922(d).) Such transfers are punishable under federal law by a $250,000 fine and 10 years
    in federal prison. (18 U.S.C. 924(a)(2).)

    Things to remember about prohibited firearms transfers and straw
    purchases:
    An illegal firearm purchase (straw purchase) is a federal crime.
    An illegal firearm purchase can bring a felony conviction sentence of 10 years in jail and
    a fine of up to $250,000.
    Buying a gun and giving it to someone who is prohibited from owning one is a state and
    federal crime.

    Never buy a gun for someone who is prohibited by law or unable to do so.




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                                        CHAPTER 5
                                Firearms Laws



      INTRODUCTION TO THE LAWS
      As the owner of a firearm, it is your responsibility to understand and comply with all
      federal, state and local laws regarding firearms ownership. Many of the laws
      described below pertain to the possession, use and storage of firearms in the home
      and merit careful review. This section contains a general summary of the state laws
      that govern the use of firearms, particularly handguns, by persons other than law
      enforcement officers or members of the armed forces. It is not designed to provide
      individual guidance for specific situations, nor does it address federal or local laws.
      Persons having specific questions are encouraged to seek legal advice from an
      attorney, or consult their local law enforcement agency, local prosecutor or law
      library.

      SALES AND TRANSFERS OF FIREARMS
      In California, only licensed California firearms dealers are authorized to engage in
      retail sales of firearms. These retail sales require the purchaser to provide personal
      identifier information for the Dealers’ Record of Sale (DROS) document that the
      firearms dealer must submit to the DOJ. There is a mandatory 10-day waiting period
      before the firearms dealer can deliver the firearm to the purchaser. During this 10-
      day waiting period, the DOJ conducts a firearms eligibility background check to
      ensure the purchaser is not prohibited from lawfully possessing firearms. Although
      there are exceptions, generally all firearms purchasers must be at least 21 years of
      age to purchase either a handgun (pistol or revolver) or a long gun (rifle or shotgun).
      Additionally, purchasers must be California residents with a valid driver’s license or
      identification card issued by the California Department of Motor Vehicles.
      Generally, it is illegal for any person who is not a California licensed firearms dealer
      (private party) to sell or transfer a firearm to another non-licensed person (private
      party) unless the sale is completed through a licensed California firearms dealer.
      “Private party transfers” can be conducted at any licensed California firearms
      dealership that sells firearms. The buyer and seller must complete the required
      DROS document in person at the licensed firearms dealership and deliver the firearm
      to the dealer who will retain possession of the firearm during the mandatory 10-day
      waiting period. In addition to the applicable state fees, the firearms dealer may
      charge a fee not to exceed $10 per firearm for conducting the private party transfer.



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      The infrequent transfer of firearms between immediate family members is exempt from
      the law requiring private party transfers to be conducted through a licensed firearms
      dealer. For purposes of this exemption, “immediate family” means parent and child,
      and grandparent and grandchild, but does not include other types of transfers, such as
      between brother and sister. Please note that the transferee must comply with the FSC
      requirement described below, prior to taking possession of the firearm. Within 30 days
      of the transfer, the transferee must also submit a report of the transaction to the DOJ.
      The required report form (Firearm Ownership Record BOF 4542A) can be downloaded
      from the DOJ’s website at http://oag.ca.gov/firearms/forms.
      The reclaiming of a pawned firearm is subject to the DROS and 10-day waiting period
      requirements.


      Proof-of-Residency Requirement
      To purchase a handgun in California you must present documentation indicating that you
      are a California resident. Acceptable documentation includes a utility bill from within the
      last three months, a signed residential lease, a property deed or military permanent duty
      station orders indicating assignment within California. The address provided on the
      DROS must match either the address on the proof-of-residency document or the address
      on the purchaser’s California Driver license or Identification Card. (Pen. Code, § 26845.)

      Firearm Safety Certificate Requirement
      To purchase or acquire a firearm, you must have a valid FSC. To obtain an FSC, you
      must score at least 75% on an objective written test pertaining to firearms laws and
      safety requirements. The test is administered by DOJ Certified Instructors, who are
      generally located at firearms dealerships. An FSC is valid for five years. The fee for
      taking the FSC test and being issued an FSC is twenty-five dollars ($25). Firearms
      being returned to their owners, such as pawn returns, are exempt from this requirement.
      In the event of a lost, stolen or destroyed FSC, the issuing DOJ Certified Instructor will
      issue a replacement FSC for a fee of $5. You must present proof of identity to receive a
      replacement FSC. (Pen. Code, §§ 31610-31670.)

      Safe Handling Demonstration Requirement
      Prior to taking delivery of a firearm, you must successfully perform a safe handling
      demonstration with the firearm being purchased or acquired. Safe handling
      demonstrations must be performed in the presence of a DOJ Certified Instructor
      sometime between the date the DROS is submitted to the DOJ and the delivery of the
      firearm, and are generally performed at the firearms dealership. The purchaser,
      firearms dealer and DOJ Certified Instructor must sign an affidavit stating the safe
      handling demonstration was completed. The steps required to complete the safe
      handling demonstration for most firearm types is described in Chapter 3. Pawn returns
      and intra-familial transfers are not subject to the safe handling demonstration
      requirement. (Pen. Code, § 26850.)



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      Firearms Safety Device Requirement
      All firearms (long guns and handguns) purchased in California must be accompanied with
      a firearms safety device (FSD) that has passed required safety and functionality tests and
      is listed on the DOJ’s official roster of DOJ-approved firearms safety devices. The
      current roster of certified FSDs is available on the Bureau of Firearms website at
      http://oag.ca.gov/firearms/fsdcertlist. The FSD requirement also can be satisfied if the
      purchaser signs an affidavit declaring ownership of either a DOJ-approved lock box or a
      gun safe capable of accommodating the firearm being purchased. Pawn returns and intra-
      familial transfers are not subject to the FSD requirement. (Pen. Code, §§ 23635-23690.)

      Roster of Handguns Certified for Sale in California
      No handgun may be sold by a firearms dealer to the public unless it is of a make and
      model that has passed required safety and functionality tests and is listed on the
      DOJ’s official roster of handguns certified for sale in California. The current roster
      of handguns certified for sale in California is available on the Bureau of Firearms
      website at http://certguns.doj.ca.gov. Private party transfers, intra-familial transfers,
      and pawn/consignment returns are exempt from this requirement. (Pen. Code, §
      32000.)

      One-Handgun-per-Thirty-Days Requirement
      No person shall make an application to purchase more than one handgun within any
      30-day period. Exemptions to the one-handgun-per-thirty-days requirement include
      pawn returns, intra-familial transfers and private party transfers. (Pen. Code, §
      27540.)

      Firearm Sales and Transfer Requirements
                                         Retail        Private    Intra-familial     Pawn
                                         Sales     Party Transfers Transfers        Returns
       Proof-of-Residency
       Requirement (handguns)             Yes            Yes             No            Yes
       Proof-of-Residency
       Requirement (long guns)*           No             No             No             No
       Firearm Safety
       Certificate Requirement            Yes            Yes             Yes           No
       Safe Handling
       Demonstration Requirement          Yes            Yes             No            No
       Firearms Safety
       Device Requirement                 Yes            Yes             No            No
       Roster of Handguns Certified
       for sale in California             Yes            No              No            No
       One Handgun Per
       30 Days Requirement                Yes            No              No            No
     *Federal requirements may apply.



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      NEW CALIFORNIA RESIDENT REQUIREMENT
      Persons who move to California with the intention of establishing residency
      in this state must either report ownership of firearms to the DOJ within 60 days, or
      sell or transfer the firearm(s) pursuant to California law. (Pen. Code,
      § 28050.) Persons who want to keep their firearms must submit a New Resident Firearm
      Ownership Report, along with a $19 fee, to the DOJ. Forms are available at licensed
      firearms dealers, the Department of Motor Vehicles or on-line at the Bureau of Firearms
      web site at http://oag.ca.gov/firearms/forms. (Pen. Code, § 27560.)


      CARRYING A CONCEALED WEAPON
      Carrying a Concealed Handgun Without a License on One’s
      Person or in a Vehicle
      It is illegal for any person to carry a handgun concealed upon his or her person
      or concealed in a vehicle without a license issued pursuant to Penal Code section
      26150. (Pen. Code, § 25400.) A firearm locked in a motor vehicle’s trunk or in a locked
      container carried in the vehicle other than in the utility or glove compartment is not
      considered concealed within the meaning of the Penal Code section 25400; neither is a
      firearm carried within a locked container directly to or from a motor vehicle for any
      lawful purpose. (Pen. Code, § 25610.)
      The prohibition from carrying a concealed handgun does not apply to licensed hunters
      or fishermen while engaged in hunting or fishing, or while going to or returning from
      the hunting expedition. (Pen. Code, § 25640.) Notwithstanding this exception for
      hunters or fishermen, these individuals may not carry or transport loaded firearms when
      going to or from the expedition. The unloaded firearms should be transported in the
      trunk of the vehicle or in a locked container other than the utility or glove compartment.
      (Pen. Code, § 25610.)
      There are also occupational exceptions to the prohibition from carrying a concealed
      weapon, including authorized employees while engaged in specified activities. (Pen.
      Code, §§ 25630 & 25640.)

      Licenses to Carry Concealed Weapons
      A license to carry a concealed handgun or other firearm may be granted by the
      sheriff of the county in which the applicant resides, or the chief of the city police
      department of the city in which the applicant resides. Such licenses are issued only
      after finding that the applicant is of good moral character, that good cause exists for
      such a license and the applicant is not prohibited from possessing firearms. (Pen.
      Code, § 26150.)
      Where the population of the county is less than 200,000 persons, the licensing
      authority may issue a license to carry a pistol, revolver or other firearm capable of
      being concealed upon the person, loaded and exposed. (Pen. Code, § 26150.)

      Unless otherwise restricted, a license is valid throughout the state.

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     FIREARMS ABOARD COMMON CARRIERS
     Federal and state laws generally prohibit a person from carrying any firearm or ammunition
     aboard any commercial passenger airplane. Similar restrictions may apply to other common
     carriers such as trains, ships and buses. Persons who need to carry firearms or ammunition on
     a common carrier should always consult the carrier in advance to determine conditions under
     which firearms may be transported.

     FIREARMS IN THE HOME, BUSINESS OR AT THE CAMPSITE
     Unless otherwise unlawful, any person over the age of 18 who is not prohibited from
     possessing firearms may have a loaded or unloaded firearm at his or her place of residence,
     temporary residence, campsite or on private property owned or lawfully possessed by the
     person. Any person engaged in lawful business (including nonprofit organizations) or any
     officer, employee or agent authorized for lawful purposes connected with the business may
     have a loaded firearm within the place of business if that person is over 18 years of age and
     not otherwise prohibited from possessing firearms. (Pen. Code, §§ 25605 & 26035.)
     NOTE: If a person’s place of business, residence, temporary residence, campsite or private
     property is located within an area where possession of a firearm is prohibited by local or
     federal laws, such laws would prevail.


     THE USE OF LETHAL FORCE IN SELF-DEFENSE
     The question of whether use of lethal force is justified in self-defense cannot be reduced
     to a simple list of factors. This section is based on the instructions generally given to the
     jury in a criminal case where self-defense is claimed and illustrates the general rules
     regarding the use of lethal force in self-defense.

     Permissible Use of Lethal Force in Defense of Life and Body
     The killing of one person by another may be justifiable when necessary to resist the
     attempt to commit a forcible and life-threatening crime, provided that a reasonable person
     in the same or similar situation would believe that (a) the person killed intended to
     commit a forcible and life-threatening crime; (b) there was imminent danger of such
     crime being accomplished; and (c) the person acted under the belief that such force was
     necessary to save himself or herself or another from death or a forcible and life-
     threatening crime. Murder, mayhem, rape and robbery are examples of forcible and life-
     threatening crimes. (Pen. Code, § 197.)

     Limitations on the Use of Force in Self-Defense
     The right of self-defense ceases when there is no further danger from an assailant. Thus,
     where a person attacked under circumstances initially justifying self-defense renders the
     attacker incapable of inflicting further injuries, the law of self-defense ceases and no
     further force may be used. Furthermore, a person may only use the amount of force, up
     to deadly force, as a reasonable person in the same or similar circumstances would
     believe necessary to prevent imminent injury. It is important to note the use of excessive
     force to counter an assault may result in civil or criminal penalties.
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     The right of self-defense is not initially available to a person who assaults another.
     However, if such a person attempts to stop further combat and clearly informs the
     adversary of his or her desire for peace but the opponent nevertheless continues the fight,
     the right of self-defense returns and is the same as the right of any other person being
     assaulted.

     LOADED FIREARMS IN PUBLIC
     It is illegal to carry a loaded firearm on one’s person or in a vehicle while in any public
     place, on any public street, or in any place where it is unlawful to discharge a firearm.
     (Pen. Code, § 25850, subd. (a).)
     It is illegal for the driver of any motor vehicle, or the owner of any motor vehicle
     irrespective of whether the owner is occupying the vehicle to knowingly permit any
     person to carry a loaded firearm into the vehicle in violation of Penal Code section
     25850, or Fish and Game Code section 2006. (Pen. Code, § 26100.) Also, see
     “Miscellaneous Prohibited Acts” on next page.
     In order to determine whether a firearm is loaded, peace officers are authorized to examine
     any firearm carried by anyone on his or her person or in a vehicle while in any public place,
     on any public street or in any prohibited area of an unincorporated territory. Refusal to
     allow a peace officer to inspect a firearm pursuant to these provisions is, in itself, grounds
     for arrest. (Pen. Code, § 25850, subd. (b).)
     The prohibition from carrying a loaded firearm in public does not apply to any person while
     hunting in an area where possession and hunting is otherwise lawful or while practice
     shooting at target ranges. (Pen. Code, §§ 26005 & 26040.)
     There are also occupational exceptions to the prohibition from carrying a loaded firearm in
     public, including authorized employees while engaged in specified activities. (Pen. Code,
     §§ 26015 & 26030.)

     LARGE-CAPACITY MAGAZINES
     It is generally illegal to manufacture, offer for sale, give, lend, buy, or receive any large-
     capacity magazine or any large-capacity conversion kit that is capable of converting an
     ammunition feeding device into a large-capacity magazine. (Pen. Code, §§ 32310 & 32311.)

     FIREARM STORAGE DURING PROHIBITION
     A person who is prohibited from owning or possessing a firearm can transfer his or her
     firearm(s) to a licensed firearms dealer for storage for the duration of the prohibition,
     provided the prohibition will end on a date specified in a court order. (Pen. Code, §
     29830.)AA




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      MISCELLANEOUS PROHIBITED ACTS
      Obliteration or Alteration of Firearm Identification
      It is illegal for any person to obliterate or alter the identification marks placed on any
      firearm including the make, model, serial number or any distinguishing mark
      lawfully assigned by the owner or by the DOJ. (Pen. Code, § 23900.)
      It is illegal for any person to buy, sell or possess a firearm knowing its identification
      has been obliterated or altered. (Pen. Code, § 23920.)

      Openly Carrying an Unloaded Handgun
      It is generally illegal for any person to carry upon his or her person or in a
      vehicle, an exposed and unloaded handgun while in or on:
          • A public place or public street in an incorporated city or city and county;
            or
          • A public street in a prohibited area of an unincorporated city or city and
            county. (Pen. Code, § 26350.)

      Unauthorized Possession of a Firearm on School Grounds
      It is illegal for any unauthorized person to possess or bring a firearm upon the
      grounds of, or into, any public school, including the campuses of the University
      of California, California State University campuses, California community colleges,
      any private school (kindergarten through 12th grade) or private university or college.
      (Pen. Code, § 626.9.)

      Unauthorized Possession of a Firearm in a Courtroom,
      the State Capitol, etc.
      It is illegal for any unauthorized person to bring or possess any firearm within a
      courtroom, courthouse, court building or at any meeting required to be open to the
      public. (Pen. Code, § 171b.)
      It is illegal for any unauthorized person to bring or possess a loaded firearm within
      (including upon the grounds of) the State Capitol, any legislative office, any office
      of the Governor or other constitutional officer, any Senate or Assembly hearing
      room, the Governor’s Mansion or any other residence of the Governor or the
      residence of any constitutional officer or any Member of the Legislature. For these
      purposes, a firearm shall be deemed loaded whenever both the firearm and its
      unexpended ammunition are in the immediate possession of the same person. (Pen.
      Code, §§ 171c, 171d, & 171e.)

      Drawing or Exhibiting a Firearm
      If another person is present, it is illegal for any person, except in self defense, to
      draw or exhibit a loaded or unloaded firearm in a rude, angry or threatening
      manner or in any manner use a firearm in a fight or quarrel. (Pen. Code, § 417. )


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     Threatening Acts with a Firearm on a Public Street or Highway
     It is illegal for any person to draw or exhibit a loaded or unloaded firearm in a threatening
     manner against an occupant of a motor vehicle which is on a public street or highway in
     such a way that would cause a reasonable person apprehension or fear of bodily harm.
     (Pen. Code, § 417.3.)

     Discharge of a Firearm in a Grossly Negligent Manner
     It is illegal for any person to willfully discharge a firearm in a grossly negligent manner
     which could result in injury or death to a person. (Pen. Code, § 246.3.)

     Discharge of a Firearm at an Inhabited/Occupied Dwelling,
     Building, Vehicle, Aircraft
     It is illegal for any person to maliciously and willfully discharge a firearm at an
     inhabited dwelling, house, occupied building, occupied motor vehicle, occupied aircraft,
     inhabited house car or inhabited camper. (Pen. Code, § 246.)

     Discharge of a Firearm at an Unoccupied Aircraft, Motor Vehicle, or
     Uninhabited Building or Dwelling
     It is illegal for any person to willfully and maliciously discharge a firearm at an
     unoccupied aircraft. It is illegal for any person to discharge a firearm at an unoccupied
     motor vehicle, building or dwelling. This does not apply to an abandoned vehicle, an
     unoccupied motor vehicle or uninhabited building or dwelling with permission of the
     owner and if otherwise lawful. (Pen. Code, § 247.)

     Discharge of a Firearm from a Motor Vehicle
     It is illegal for any person to willfully and maliciously discharge a firearm from a motor
     vehicle. A driver or owner of a vehicle who allows any person to discharge a firearm
     from the vehicle may be punished by up to three years imprisonment in state prison. (Pen.
     Code, § 26100.)

     Criminal Storage
     “Criminal storage of firearm of the first degree” – Keeping any loaded firearm within any
     premises that are under your custody or control and you know or reasonably should know
     that a child (any person under 18) or a person prohibited from possessing a firearm or
     deadly weapon pursuant to state or federal law is likely to gain access to the firearm
     without the permission of the child’s parent or legal guardian and the child or prohibited
     person obtains access to the firearm and thereby causes death or great bodily injury to
     himself, herself, or any other person. (Pen. Code, § 25100, subd. (a).)
     “Criminal storage of firearm of the second degree” – Keeping any loaded firearm within
     any premises that are under your custody or control and you know or reasonably should
     know that a child (any person under 18) or a person prohibited from possessing a firearm
     or deadly weapon pursuant to state or federal law is likely to gain access to the firearm
     without the permission of the child’s parent or legal guardian and the child or prohibited
     person obtains access to the firearm and thereby causes injury, other than great bodily
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     injury, to himself, herself, or any other person, or carries the firearm either to a public
     place or in violation of Penal Code section 417. (Pen. Code, § 25100, subd. (b).)

     “Criminal Storage of firearm of the third degree” – Keeping any loaded firearm within any
     premises that are under your custody or control and negligently storing or leaving a loaded
     firearm in a location where you know or reasonably should know that a child (any person
     under 18) is likely to gain access to the firearm without the permission of the child’s
     parent or legal guardian, unless you have taken reasonable action to secure the firearm
     against access by the child. (Pen. Code, § 25100, subd. (c).)
     None of the criminal storage offenses (first degree, second degree, third degree)
     shall apply whenever the firearm is kept in a locked container or locked with a
     locking device that has rendered the firearm inoperable. (Pen. Code, § 25105.)

     Sales, Transfers and Loans of Firearms to Minors
     Generally, it is illegal to sell, supply, deliver, or give possession of any firearm,
     either a handgun or a long gun, to a person under 21 years of age. (Pen. Code, §
     27510.)

     Possession of a Handgun or Live Ammunition by Minors
     It is unlawful for a minor to possess a handgun or live ammunition unless one
     of the following circumstances exists:
       • The minor is accompanied by his or her parent or legal guardian and the
         minor is actively engaged in a lawful recreational sporting, ranching or
         hunting activity, or a motion picture, television or other entertainment
         event;
       • The minor is accompanied by a responsible adult and has prior written
         consent of his or her parent or legal guardian and is involved in one
         of the activities cited above; or
       • The minor is at least 16 years of age, has prior written consent of his or
         her parent or legal guardian, and the minor is involved in one of the
         activities cited above. (Pen. Code, §§ 29610-29655.)

     PERSONS INELIGIBLE TO POSSESS FIREARMS
     The following persons are prohibited from possessing firearms (Pen. Code, §§
     29800-29825, 29900; Welf. & Inst. Code, §§ 8100, 8103.):

     Lifetime Prohibitions
         •   Any person convicted of any felony or any offense enumerated in Penal
             Code section 29905.
         •   Any person convicted of an offense enumerated in Penal Code section
             23515.
         •   Any person with two or more convictions for violating Penal Code section

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          417, subdivision (a)(2).
       • Any person adjudicated to be a mentally disordered sex offender. (Welf. &
         Inst. Code, § 8103, subd. (a)(1).)
       • Any person found by a court to be mentally incompetent to stand trial or not
         guilty by reason of insanity of any crime, unless the court has made
         a finding of restoration of competence or sanity. (Welf. & Inst. Code,
         § 8103, subd. (b)(1), (c)(1), & (d)(1).)

      10-Year Prohibitions
      • Any person convicted of a misdemeanor violation of the following: Penal
        Code sections 71, 76, 136.5, 140, 148 (d), 171b, 171c, 171d, 186.28, 240, 241,
        242, 243, 244.5, 245, 245.5, 246, 246.3, 247, 273.5, 273.6, 417, 417.1,
        417.2, 417.6, 422, 626.9, 646.9, 830.95(a), 17500, 17510(a), 25300, 25800,
        27510, 27590(c), 30315, or 32625, and Welfare and Institutions Code sections
        871.5, 1001.5, 8100, 8101, or 8103 .

      5-Year Prohibitions
       • Any person taken into custody as a danger to self or others, assessed, and admitted
         to a mental health facility under Welfare and Institutions Code sections 5150, 5151,
         5152; or certified under Welfare and Institutions Code sections 5250, 5260, 5270.15.

      Juvenile Prohibitions
       • Juveniles adjudged wards of the juvenile court are prohibited until they reach age
         30 if they committed an offense listed in Welfare and Institutions Code section
         707, subdivision (b).

      Miscellaneous Prohibitions
      •   Any person denied firearm possession as a condition of probation pursuant
          to Penal Code section 29900, subdivision (c).
       • Any person charged with a felony offense, pending resolution of the matter.
         (18 U.S.C. § 922(g).)
       • Any person while he or she is either a voluntary patient in a mental health facility
         or under a gravely disabled conservatorship (due to a mental disorder or
         impairment by chronic alcoholism) and if he or she is found to be a danger to self
         or others. (Welf. & Inst. Code, § 8103, subd. (e).)
       • Any person addicted to the use of narcotics. (Pen. Code, § 29800, subd. (a).)
       • Any person who communicates a threat (against any reasonably identifiable
         victim) to a licensed psychotherapist which is subsequently reported to law
         enforcement, is prohibited for five years. (Welf. & Inst. Code, § 8104, subd. (c).)
       • Any person who is subject to a protective order as defined in Family Code section
         6218, Penal Code section 136.2, or a temporary restraining order issued pursuant to
         Code of Civil Procedure sections 527.6 or 527.8.

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                                                   CHAPTER 5:           Self Test
      1. It is illegal for a person convicted        4. Generally, a person may legally
          of any felony offense to possess a             have a loaded firearm, if
          firearm. (page 43)                             otherwise lawful, at his or her
          True      False                                campsite. (page 39)
                                                          True     False
      2. To legally give a firearm to your
          best friend as a birthday gift, you        5. It is illegal to buy, sell or
          must complete the transfer of the              possess a firearm knowing its
          firearm through a licensed firearms            identification marks have been
          dealer. (page 35)                              erased or altered. (page 41)
          True      False                                 True     False

      3. It is illegal to lend a firearm to a
          minor without the permission of
          the minor’s parent or legal
          guardian. (page 43)
          True      False




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           :Safe Handling Demonstration Glossary

      Action: A series of moving parts that           Jam: A malfunction that
              allow a firearm to be loaded, fired        prevents a firearm from
              and unloaded.                              firing properly.
      Barrel: The metal tube through which a          Magazine: A separate box-like metal
              bullet passes on its way to a target.      container for semi-automatic
                                                         pistols into which cartridges are
      Breech: The part of a firearm at the rear of
                                                         loaded.
              the barrel.
      Bullet: The projectile located at the tip of    Magazine Release: A device that
              the cartridge case.                        releases the magazine so that it
                                                         can be removed from the firearm.
      Caliber: The bullet or barrel diameter.
                                                      Magazine Well: The opening in a
      Cartridge: A single unit of ammunition             firearm into which a magazine
             made up of the case, primer,                is inserted.
             propellant and bullet.
                                                      Muzzle: The front end of the barrel
      Cartridge Case: A container for all other          from which a bullet exits.
             components which comprise a
             cartridge.                               Revolver: A firearm that has a
                                                         rotating cylinder containing a
      Chamber: The rear part of a gun barrel             number of chambers.
            where the cartridge is located
                                                      Round: See cartridge.
            when the gun is loaded.
                                                      Safety: A device on a firearm
      Cylinder: The part of a revolver that
                                                          intended to help provide
             holds ammunition in
                                                          protection against accidental
             individual chambers.
                                                          discharge under normal usage
      Cylinder Latch: A latch on double-                  when properly engaged.
             action revolvers that allows the
                                                      Semiautomatic pistol: A firearm that
             cylinder to swing out.
                                                         fires a single cartridge each time
      Double-Action: A type of firearm                   the trigger is pulled, and which
             action in which a single pull               automatically extracts and ejects
             of the trigger both cocks the               the empty cartridge case and
             hammer and releases it.                     reloads the chamber.
      Dummy Round: A bright orange, red or            Single-action: A type of firearm
           other readily identifiable dummy               action in which pulling the trigger
           round or an inert cartridge                    causes the hammer to release.
           without powder and primer.
                                                      Trigger Guard: Located on the
      Ejector Rod: The part used to remove                underside of the gun, the trigger
              cartridges from the cylinder.               guard is a rigid loop which
      Grip: The handle of the firearm.                    particularly surrounds the trigger
                                                          to prevent damage or accidental
      Hammer: The part of the firing                      discharge.
         mechanism which strikes the firing pin
         or primer.
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